Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 1 of 91 PageID.56




                   EXHIBIT 2
 Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 2 of 91 PageID.57



LIPPSMITH LLP
GRAHAM B. LIPPSMITH 9593, g@lippsmith.com
MARYBETH LIPPSMITH 11578, mb@lippsmith.com                                     Electronically Filed
JACLYN L. ANDERSON 11075, jla@lippsmith.com                                    FIRST CIRCUIT
CELENE CHAN ANDREWS 9902, cca@lippsmith.com                                    1CCV-XX-XXXXXXX
55 Merchant Street, Suite 1850
Honolulu, Hawai‘i 96813                                                        13-OCT-2023
Tel: (213) 344-1820 / Fax: (213) 513-2495                                      01:57 PM
                                                                               Dkt. 171 CAMD
FOLEY BEZEK BEHLE & CURTIS LLP
ROBERT A. CURTIS (California SBN 203870), rcurtis@foleybezek.com
Admitted Pro Hac Vice
KEVIN D. GAMARNIK (California SBN 273445), kgamarnik@foleybezek.com
Admitted Pro Hac Vice
LUIS A. SAENZ (California SBN 336311), lsaenz@foleybezek.com
Admitted Pro Hac Vice
15 West Carrillo Street
Santa Barbara, California 93101
Tel: (805) 962-9495 / Fax: (805) 962-0722

ROBERTSON & ASSOCIATES, LLP
ALEXANDER ROBERTSON, IV (California SBN 127042), arobertson@arobertsonlaw.com
Admitted Pro Hac Vice
32121 Lindero Canyon Road, Suite 200
Westlake Village, California 91361
Tel: (818) 851-3850 / Fax: (818) 851-3851

Attorneys for Plaintiffs and the Putative Class and Subclasses

                     IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                                       STATE OF HAWAI‘I
MONICA I. EDER; REDE S. EDER; BRUCE                       CIVIL NO. 1CCV-XX-XXXXXXX JPC
BAUM; SHERYL LYNN MARTIN; PATRICE                         (Property Damage/Personal Injury)
CARLTON; MONA CHERRY; CLUB
SPORTWEAR, INC. dba KAIALOHA SUPPLY;                      SECOND AMENDED COMPLAINT;
TERESA COLEMAN; LINDA BETHELL                             EXHIBIT “A”; DEMAND FOR JURY
DONOVAN TRUST; LINDA BETHELL                              TRIAL; SUMMONS; CERTIFICATE
DONOVAN; CANDICE FAUST; PETER FAUST;                      OF SERVICE
KAILI FAUST; DAVID HEYMES; TOMMY
KNAPP; KRONSER TRUST; PAUL KRONSER;
KRISTI LYNN KRONSER; JENNIFER LYNN
MCNAMEE; RANDALL EUGENE MCNAMEE;
CHARLENE MEDEIROS; CHARLOTTE
MEDEIROS; ERIC MCCUMBER; JONATHAN
MELIKIDSE; CHRISTY MELIKIDSE; ROSE
O’LEARY; STEVEN DAVID POTTER; TIMOTHY
PUTNAM; LORRI ROBUSTO; WILLIAM
ROBUSTO; KATHRYN SAY; AYDIN SAY;
 Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 3 of 91 PageID.58



STARDUST HAWAI‘I dba SEGWAY MAUI;
MARTY STEVENSON; CONSTANCE
STEVENSON; KAORU TANABE; ROLLAND
WILLIAMS, JR.; and JENNIFER WISEMAN,
Individually and in Their Representative Capacities
and on Behalf of a Class and Subclasses of All
Persons Similarly Situated,

                Plaintiffs,
        vs.

MAUI ELECTRIC COMPANY, LIMITED;
HAWAIIAN ELECTRIC COMPANY, INC.;
HAWAII ELECTRIC LIGHT COMPANY, INC.;
HAWAIIAN ELECTRIC INDUSTRIES, INC.;
COUNTY OF MAUI; HAWAIIAN TELCOM;
HAWAIIAN TELECOMMUNICATIONS, INC.;
HAWAIIAN TELCOM, INC.; SPECTRUM
OCEANIC, LLC; CHARTER COMMUNICATIONS
HOLDING COMPANY, LLC; CHARTER
COMMUNICATIONS HOLDING, LLC; CHARTER
COMMUNICATIONS, LLC; CHARTER
COMMUNICATIONS OPERATING, LLC;
TRUSTEES OF THE ESTATE OF BERNICE
PAUAHI BISHOP; PETER KLINT MARTIN;
PETER KLINT MARTIN REVOCABLE TRUST;
HOPE BUILDERS HOLDING LLC; HOPE
BUILDERS INC.; HOPE BUILDERS LLC;
KAUAULA LAND COMPANY LLC; KIPA
CENTENNIAL, LLC; DOUGLAS POSELEY;
DONNA ANNE POSELEY; JAMES C. RILEY
TRUST; JEANNE A. RILEY TRUST; WAINEE
LAND & HOMES, LLC; WEST MAUI LAND
COMPANY, INC.; MAKILA RANCHES INC.;
MAKILA LAND CO., LLC; MAKILA RANCHES
HOMEOWNERS ASSOCIATION, INC.; JV
ENTERPRISES, LLC; STATE OF HAWAI‘I;
HAWAII HOUSING FINANCE AND
DEVELOPMENT CORPORATION; HAWAI‘I
DEPARTMENT OF LAND AND NATURAL
RESOURCES; DOE POWER UTILITIES, 1–10;
DOE TELECOMMUNICATIONS, 1–10; DOE
PRIVATE LANDOWNERS, 1–10; and DOE STATE
LANDOWNERS, 1–10,

                Defendants.
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 4 of 91 PageID.59



                             SECOND AMENDED COMPLAINT
       1.      Plaintiffs Monica I. Eder; Rede S. Eder; Bruce Baum; Sheryl Lynn Martin,

Patrice Carlton; Mona Cherry; Club Sportwear, Inc. dba KaiAloha Supply; Teresa Coleman;

Linda Bethell Donovan Trust; Linda Bethell Donovan; Candice Faust; Peter Faust; Kaili Faust;

David Heymes; Tommy Knapp; Kronser Trust; Paul Kronser; Kristi Lynn Kronser; Jennifer

Lynn McNamee; Randall Eugene McNamee; Charlene Medeiros; Charlotte Medeiros; Eric

McCumber; Jonathan Melikidse; Christy Melikidse, Rose O’Leary; Steven David Potter;

Timothy Putnam; Lorri Robusto; William Robusto; Kathryn Say; Aydin Say; Stardust Hawai‘i

dba Segway Maui; Marty Stevenson; Constance Stevenson; Kaoru Tanabe; Rolland Williams Jr.;

and Jennifer Wiseman (“Plaintiffs”), in their individual and representative capacities and on

behalf of a Class and Subclasses of all persons similarly situated, by their undersigned attorneys,

file this Second Amended Complaint, alleging the following upon information and belief.



                                       INTRODUCTION

       2.      Plaintiffs bring this lawsuit on behalf of the thousands of people who live and

work in and around the town of Lahaina whose lives have been forever changed. A devastating

fire roared through the former capital of the Hawaiian Kingdom on August 8, 2023, leaving utter

destruction in its wake.




       3.      The unfortunate truth is that this disaster could have been avoided.




                                                 1
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 5 of 91 PageID.60



       4.      Despite the National Weather Service issuing a High Wind Watch and Red Flag

Warning—and cautioning both that damaging winds could blow down power lines and that any

fires that developed would likely spread rapidly—Defendants Maui Electric Company, Limited

(“MECO”); Hawaiian Electric Company, Inc. (“HECO”); Hawaii Electric Light Company, Inc.

(“HELCO”); and Hawaiian Electric Industries, Inc. (“HEI”) (collectively, “HEI Defendants”)

inexcusably kept their power lines energized during forecasted high fire danger conditions. In

addition, the HEI Defendants failed to replace their old wooden power poles, which have

exceeded their useful life, sit dangerously vulnerable and in poor condition, and fail to meet the

National Electric Safety Code requirement to withstand wind speeds of 105 miles per hour. The

many downed power lines on August 8, 2023, not only ignited the Lahaina Fire and risked public

safety, but they also caused the HEI Defendants’ crews to block, congest, and divert people away

from evacuation routes so that the HEI Defendants could service downed power lines.

       5.      Other avoidable failures contributed to this preventable tragedy. The

Telecommunications Defendants (defined, infra) own and operate telecommunications

equipment attached to the HEI Defendants’ wooden power poles on Maui. Despite their duty to

properly design, construct, install, use, inspect, repair, and maintain that equipment, the

Telecommunications Defendants overloaded at least some of the power poles, destabilizing

them. Consequently, wooden power poles snapped, broke, and otherwise failed during the high-

wind event on August 8, 2023. Some of these power pole failures caused and contributed to the
ignition of multiple wildfires on Maui on August 8, 2023, including the Lahaina Fire.

       6.      Once the overloaded wooden power poles fell in predicted high winds, the HEI

Defendants’ energized power lines fell into overgrown, highly flammable vegetation that both

ignited the fire and fueled its cataclysmic spread. In fact, Defendants who own, develop, and

manage land in and/or adjacent to Lahaina (defined, infra, as “Private Landowner Defendants”

and “State Landowner Defendants”) allowed invasive, nonnative vegetation—including highly

flammable fountain and guinea grass—to accumulate and overrun the land. This failure to safely
maintain nonnative vegetation contributed to the ignition of the Lahaina Fire, the fire’s explosive


                                                  2
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 6 of 91 PageID.61



spread, and the blocking and slowing of the north and south escape routes from Lahaina—

trapping people in the Lahaina Fire. In addition, the Private Landowner Defendants and State

Landowner Defendants also failed to install fire breaks, which escalated the ferocious spread of

the Lahaina Fire.

       7.      And, despite extensive and specific knowledge about the great risk of wildfires on

Maui in 2018 and 2019, Defendant County of Maui (“the County Defendant”) took no action to

eliminate or reduce identified wildfire risk factors in advance of the Lahaina Fire. During the

fire, the County also failed to sound sirens, which would have prompted evacuations and

mitigated the overwhelming loss of life, personal injuries, and emotional distress.

       8.      The combination of the HEI Defendants’ failure to deenergize their power lines

and to replace their old and vulnerable wooden power poles; the Telecommunications

Defendants’ destabilization of the HEI Defendants’ wooden power poles; the Private Landowner

Defendants’ and State Landowner Defendants’ failure to maintain and manage the vegetation on

the land where the fire started and spread; and the County’s failure to implement reasonable,

non-costly wildfire mitigation measures before the Lahaina Fire and to sound sirens warning

people of the rapidly approaching Lahaina Fire all contributed to cause this unprecedented

disaster. Together, these failures caused loss of life; serious injuries; destruction of thousands of

homes and businesses; displacement of thousands of people; and damage to, and the destruction

of, many of Hawai‘i’s treasured historic and cultural sites. This fire marks the most destructive—
and deadliest—human-made disaster in Hawai‘i history.

       9.      More than one hundred people burned to death; officials expect the death toll to

rise. Other victims suffered severe burns, smoke inhalation, and additional serious injuries,

including emotional distress. Hundreds of people remain missing. The fire decimated the entire

historic town of Lahaina, as homes, businesses, churches, schools, and cultural sites burned to

the ground. Only ashes of those structures remain. The fire also consumed thousands of acres

and left its victims suffering from severe mental and emotional stress in its wake.




                                                  3
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 7 of 91 PageID.62




                                      4
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 8 of 91 PageID.63




                                      5
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 9 of 91 PageID.64




       10.    Initial numbers from the Pacific Disaster Center and FEMA estimate that the cost

of rebuilding following damage from the Lahaina Fire is $5.52 billion.1




1
  Aya Elamroussi, Firefighters make progress against deadly wildfires in Maui, as officials
estimate it will cost billions of dollars to rebuild, CNN, (Aug. 12, 2023),
https://www.cnn.com/2023/08/12/us/maui-wildfires-hurricane-dora-saturday/index.html.


                                               6
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 10 of 91 PageID.65



        11.     HEI, the parent corporation to HECO, MECO, and HELCO, had a market cap

 valuation of $3.55 billion as of August 11, 2023. As of August 24, 2023, HEI’s market cap

 valuation has suffered a precipitous decline and hovered around $1.3 billion.

        12.     On August 27, 2023, HECO issued a News Release admitting the following

 “important fact[]”: “A fire at 6:30 a.m. (the ‘Morning Fire’) appears to have been caused by

 power lines that fell in high winds.” The News Release then references videos that local residents

 took of a downed power line, claiming, “Those videos show that power lines had fallen to the

 ground in high winds near the intersection of Lahainaluna Road and Ho‘okahua Street at

 approximately 6:30 a.m. A small fire that can be seen by the downed power lines spread into the

 field across the street from the Intermediate School.” HECO claimed that the Morning Fire was

 extinguished, but “[s]hortly before 3 p.m.,” HECO “crew members saw a small fire about 75

 yards away from Lahainaluna Road in the field near the Intermediate School,” which “spread out

 of control toward Lahaina.”2



                                             PARTIES

        13.     Plaintiffs Monica I. Eder and Rede S. Eder own a townhome located at 1400

 Limahana Circle, Lahaina, Hawai‘i on the Island of Maui.

        14.     Plaintiffs Bruce Baum and Sheryl Lynn Martin own a townhome located at 12

 Puailima Place, Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina
 Fire. Plaintiffs B. Baum and S. Martin suffered real and personal property loss as a result of the

 Lahaina Fire that started on August 8, 2023.

        15.     Plaintiff Patrice Carlton owns a townhome located at 45 E. Kuu Aku Lane,

 Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire. Plaintiff



 2 Hawaiian Electric, News Release: Hawaiian Electric provides update on Lahaina fires,

 response (Aug. 27, 2023),
 https://www.hawaiianelectric.com/documents/about_us/news/2023/20230827_lahaina_fires_upd
 ate.pdf.


                                                  7
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 11 of 91 PageID.66



 P. Carlton suffered real and personal property damages and personal injuries, including

 emotional distress, as a result of the Lahaina Fire that started on August 8, 2023.

        16.     Plaintiff Mona Cherry worked in Lahaina, Hawai‘i, on the Island of Maui.

 Plaintiff M. Cherry suffered loss of income as a result of the Lahaina Fire that started on August

 8, 2023.

        17.     Plaintiff Club Sportwear, Inc., doing business as KaiAloha Supply, leased two

 retail stores located at 850 Front Street, Lahaina, Hawai‘i, and 640 Front Street, Lahaina,

 Hawai‘i, on the Island of Maui. Both retail stores were destroyed by the Lahaina Fire. Plaintiff

 Club Sportwear also leased an office and warehouse located at 222 Papalaua Street, Lahaina,

 Hawai‘i, on the Island of Maui. The office and warehouse were destroyed by the Lahaina Fire.

 Plaintiff Club Sportwear also suffered personal property damage and loss of income as a result of

 the Lahaina Fire that started on August 8, 2023.

        18.     Plaintiff Teresa Coleman owns a condominium located at 106 Kahoma Village

 Loop, Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire.

 Plaintiff T. Coleman suffered real and personal property damages and personal injuries,

 including emotional distress, as a result of the Lahaina Fire that started on August 8, 2023.

        19.     Plaintiff Linda Bethell Donovan Trust owns a townhouse located at 41 Puapake

 Place, Lahaina, Hawai‘i, on the Island of Maui, which was damaged as a result of the Lahaina

 Fire. Plaintiff Linda Bethell Donovan Trust suffered real property loss as a result of the Lahaina
 Fire. Plaintiff Linda Bethell Donovan, trustee of the Linda Bethell Donovan Trust, suffered

 personal property loss and personal injury, including emotional distress, as a result of the

 Lahaina Fire that started on August 8, 2023.

        20.     Plaintiff Candice Faust owns a townhome located at 41 Puapake Place, Lahaina,

 Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire. Plaintiff C. Faust

 suffered real and personal property damages and personal injuries, including emotional distress,

 as a result of the Lahaina Fire that started on August 8, 2023. Plaintiff C. Faust’s husband and




                                                    8
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 12 of 91 PageID.67



 daughter, Plaintiff Peter Faust and Plaintiff Kaili Faust, also suffered both personal property

 damages and personal injuries, including emotional distress.

        21.     Plaintiff David Heymes rents an apartment located at 1034 Front Street, Lahaina,

 Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire. Plaintiff D. Heymes

 suffered personal property damages and personal injuries, including emotional distress, as a

 result of the Lahaina Fire that started on August 8, 2023.

        22.     Plaintiff Tommy Knapp owns a home located at 111 Pualei, Lahaina, Hawai‘i, on

 the Island of Maui, which was damaged in the Lahaina Fire. Plaintiff T. Knapp suffered real and

 personal property damages and personal injuries, including emotional distress, as a result of the

 Lahaina Fire that started on August 8, 2023.

        23.     Plaintiff Kronser Trust owns a condominium located at 475 Front Street, Lahaina,

 Hawai‘i, on the Island of Maui, which was damaged as a result of the Lahaina Fire. Plaintiff

 Kronser Trust suffered real property losses as a result of the Lahaina Fire that started on August

 8, 2023. Plaintiffs Paul Kronser and Kristi Lynn Kronser, trustees of the Kronser Trust, suffered

 personal property losses and loss of income as a result of the same Lahaina Fire.

        24.     Plaintiffs Jennifer Lynn McNamee and Randall Eugene McNamee rent a home

 located at 239 Front Street, Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the

 Lahaina Fire. Plaintiffs J. McNamee and R. McNamee suffered personal property damages;

 business losses; and personal injuries, including emotional distress, as a result of the Lahaina
 Fire that started on August 8, 2023.

        25.     Plaintiff Charlene Medeiros rents a condominium located at 3500 Lower

 Honoapi‘ilani Road, Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the

 Lahaina Fire. Plaintiff C. Medeiros suffered personal property damages and personal injuries,

 including emotional distress, as a result of the Lahaina Fire that started on August 8, 2023.

        26.     Plaintiff Charlotte Medeiros rents an apartment located at 1034 Front Street,

 Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire. Plaintiff
 Charlotte Medeiros suffered personal property damages and personal injuries, including


                                                  9
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 13 of 91 PageID.68



 emotional distress, as a result of the Lahaina Fire that started on August 8, 2023.

        27.     Plaintiff Eric McCumber rents an apartment located at 615 Honoapi‘ilani

 Highway, Lahaina, Hawai‘i, on the Island of Maui. Plaintiff E. McCumber suffered personal

 property damages and personal injuries, including emotional distress, as a result of the Lahaina

 Fire that started on August 8, 2023.

        28.     Plaintiffs Jonathan Melikidse and Christy Melikidse own a home located at 100

 Kahoma Village Loop, Lahaina, Hawai‘i, on the Island of Maui, which was damaged by the

 Lahaina Fire. Plaintiffs J. Melikidse and C. Melikidse suffered real and personal property

 damages as well as personal injuries, including emotional distress, as a result of the Lahaina Fire

 that started on August 8, 2023.

        29.     Plaintiff Rose O’Leary worked in Lahaina, Hawai‘i, on the Island of Maui.

 Plaintiff R. O’Leary suffered loss of income as a result of the Lahaina Fire that started on August

 8, 2023.

        30.     Plaintiff Steven David Potter was driving through Lahaina, Hawai‘i, on the Island

 of Maui, and was trapped by the Lahaina Fire. Plaintiff S. Potter suffered personal property

 damages and personal injuries, including emotional distress, as a result of the Lahaina Fire that

 started on August 8, 2023.

        31.     Plaintiff Timothy (“Timster”) Putnam rents a home located at 1497 Ainakea

 Road, Lahaina, Hawai‘i, on the Island of Maui, which was damaged by the Lahaina Fire.
 Plaintiff T. Putnam suffered personal property damages; business losses; and personal injuries,

 including emotional distress, as a result of the Lahaina Fire that started on August 8, 2023.

        32.     Plaintiffs Lorri Robusto and William Robusto own a home located at 57 Kahili

 Place, Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire.

 Plaintiffs L. Robusto and W. Robusto suffered real and personal property damages as a result of

 the Lahaina Fire that started on August 8, 2023.

        33.     Plaintiffs Kathryn Say and Aydin Say own a home located at 170 Prison Street,
 Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina Fire. Plaintiffs K.


                                                  10
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 14 of 91 PageID.69



 Say and A. Say suffered real property loss and personal property loss as a result of the Lahaina

 Fire that started on August 8, 2023.

        34.     Plaintiff Stardust Hawai‘i, doing business as Segway Maui, leases a business

 space located at 991 Limahana Place, Lahaina, Hawai‘i, on the Island of Maui, which was

 destroyed by the Lahaina Fire. Plaintiff Stardust Hawaii suffered personal property damages and

 loss of income as a result of the Lahaina Fire that started on August 8, 2023.

        35.     Plaintiffs Marty Stevenson and Constance Stevenson own a home located at 55

 Puapake Place, Lahaina, Hawai‘i, on the Island of Maui, which was destroyed by the Lahaina

 Fire. Plaintiffs M. Stevenson and C. Stevenson suffered real and personal property damages as a

 result of the Lahaina Fire that started on August 8, 2023.

        36.     Plaintiff Kaoru (“LT”) Tanabe rents a condominium located at 405 Kenui Circle,

 Lahaina, Hawai‘i, on the Island of Maui. Plaintiff K. Tanabe suffered personal property

 damages, business losses, and personal injuries, including emotional distress, as a result of the

 Lahaina Fire that started on August 8, 2023.

        37.     Plaintiff Rolland Williams, Jr. rented a home in Lahaina, Hawai‘i, on the Island of

 Maui, which was destroyed by the Lahaina Fire. Plaintiff R. Williams suffered personal property

 damages and business losses as a result of the Lahaina Fire that started on August 8, 2023.

        38.     Plaintiff Jennifer Wiseman lives in Lahaina, Hawai‘i, on the Island of Maui, and

 her home was destroyed by the Lahaina Fire. Plaintiff J. Wiseman suffered personal property
 damages, loss of income, and personal injuries, including emotional distress, as a result of the

 Lahaina Fire that started on August 8, 2023.

        39.     Plaintiffs are informed and believe that Defendant Maui Electric Company,

 Limited (“MECO”) is doing business in the State of Hawai‘i with its principal place of business

 in the City of Kahului, County of Maui, State of Hawai‘i.

        40.     Plaintiffs are informed and believe that Defendant Hawaiian Electric Company,

 Inc. (“HECO”) is doing business in the State of Hawai‘i, in the County of Maui, with its
 principal place of business in the City and County of Honolulu, State of Hawai‘i.


                                                 11
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 15 of 91 PageID.70



        41.     Plaintiffs are informed and believe that Defendant Hawaii Electric Light

 Company, Inc. (“HELCO”) is doing business in the State of Hawai‘i, in the County of Hawai‘i,

 with its principal place of business in the City and County of Honolulu, State of Hawai‘i.

        42.     Plaintiffs are informed and believe that Defendant Hawaiian Electric Industries,

 Inc. (“HEI”) is the parent company of HECO, MECO, and HELCO, doing business in the State

 of Hawai‘i, in the County of Maui, with its principal place of business in the City and County of

 Honolulu, State of Hawai‘i.

        43.     Plaintiffs have reviewed public and other records available in order to ascertain

 the true and full names and identities of all defendants in this action, but Plaintiffs have no

 further knowledge or information at this time regarding all responsible parties and are unable to

 ascertain the identity of defendants in this action designated as Doe Power Utilities 1–10. The

 Doe Power Utilities Defendants are sued herein under fictitious names for the reason that their

 true names and identities are unknown to Plaintiffs, except that they may be connected in some

 manner with the named Defendants, such as being agents, servants, employees, employers,

 representatives, co-venturers, associates, or independent contractors of Defendants and/or were

 in some manner presently unknown to the Plaintiffs engaged in activities such as designing,

 manufacturing, selling, distributing, installing and/or providing materials and/or services to

 Defendants. The Doe Power Utilities Defendants’ true names, identities, capacities, activities,

 and/or responsibilities are presently unknown to Plaintiffs or their attorneys. Plaintiffs pray for
 leave to amend this Second Amended Complaint to show the true names and capacities,

 activities, and/or responsibilities when the same has been discovered.

        44.     This Second Amended Complaint refers to HECO, MECO, HELCO, HEI, and the

 Doe Power Utilities Defendants as the “HEI Defendants.”

        45.     Plaintiffs are informed and believe that Defendant Hawaiian Telcom; Defendant

 Hawaiian Telecommunications, Inc.; and Defendant Hawaiian Telcom, Inc. (collectively,

 “Hawaiian Telcom”) are doing business in the State of Hawai‘i. Defendant Hawaiian




                                                  12
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 16 of 91 PageID.71



 Telecommunications, Inc. is a corporation organized in the State of Delaware. Defendant

 Hawaiian Telcom, Inc. is a corporation organized in the State of Hawai‘i.

        46.     Plaintiffs are informed and believe that Defendant Spectrum Oceanic, LLC

 (“Spectrum”) is doing business in the State of Hawai‘i and is a limited liability corporation

 organized in the State of Delaware.

        47.     Plaintiffs are informed and believe that Defendant Charter Communications

 Holding Company, LLC; Charter Communications Holding, LLC; Charter Communications,

 LLC; and Charter Communications Operating, LLC (collectively, “Charter”) are doing business

 in the State of Hawai‘i. Defendant Charter Communications Holding Company, Defendant

 Charter Communications Holding, LLC, and Defendant Charter Communications, LLC are all

 limited liability corporations organized in the State of Delaware. Plaintiffs are further informed

 and believe that Charter is the parent company of Spectrum, that Charter manages Spectrum, and

 that Spectrum is the trade name for Charter.

        48.     Plaintiffs have reviewed public and other records available in order to ascertain

 the true and full names and identities of all defendants in this action, but Plaintiffs have no

 further knowledge or information at this time regarding all responsible parties and are unable to

 ascertain the identity of defendants in this action designated as Doe Telecommunications 1–10.

 The Doe Telecommunications Defendants are sued herein under fictitious names for the reason

 that their true names and identities are unknown to Plaintiffs, except that they may be connected
 in some manner with the named Defendants, such as being agents, servants, employees,

 employers, representatives, co-venturers, associates, or independent contractors of Defendants

 and/or were in some manner presently unknown to the Plaintiffs engaged in activities such as

 designing, manufacturing, selling, distributing, installing and/or providing materials and/or

 services to Defendants. The Doe Telecommunications Defendants’ true names, identities,

 capacities, activities, and/or responsibilities are presently unknown to Plaintiffs or their

 attorneys. Plaintiffs pray for leave to amend this Second Amended Complaint to show the true
 names and capacities, activities, and/or responsibilities when the same has been discovered.


                                                   13
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 17 of 91 PageID.72



        49.     This Second Amended Complaint refers to Hawaiian Telcom, Spectrum, Charter,

 and the Doe Telecommunications Defendants as the “Telecommunications Defendants.”

        50.     Plaintiffs are informed and believe that Defendant Trustees of the Estate of

 Bernice Pauahi Bishop, operating under the registered trade name “Kamehameha Schools,” is a

 charitable trust established for the education of Hawaiian children and the management of trust

 assets. Plaintiffs are further informed and believe that Kamehameha Schools is the largest private

 landowner in the Hawaiian islands and has a reported net worth of $8.8 billion.

        51.     Plaintiffs are informed and believe that “Peter Martin & Associates” is comprised

 of at least the following individuals and/or entities that owned, developed, or managed land in

 and/or adjacent to Lahaina and that all of these entities are doing business in the State of

 Hawai‘i, County of Maui: Defendant Peter Klint Martin; Defendant Peter Klint Martin

 Revocable Trust; Defendant Hope Builders Holding LLC; Defendant Hope Builders Inc.;

 Defendant Hope Builders LLC; Defendant Kauaula Land Company LLC; Defendant Kipa

 Centennial, LLC; Defendant Douglas Poseley; Defendant Donna Anne Poseley; Defendant

 James C. Riley Trust; Defendant Jeanne A. Riley Trust; Defendant Wainee Land & Homes,

 LLC; and Defendant West Maui Land Company, Inc.; Defendant Makila Ranches Inc.;

 Defendant Makila Land Co., LLC; Defendant Makila Ranches Homeowners Association, Inc.

 This Second Amended Complaint refers to these defendants as “The Peter Martin Defendants.”

        52.     Plaintiffs are informed and believe that Defendant JV Enterprises, LLC (“JV
 Enterprises”), is doing business in Hawai‘i under the trade name JV Waiwai Investments.

 Defendant JV Enterprises is a limited liability company organized in the State of Idaho.

        53.     Plaintiffs have reviewed public and other records available in order to ascertain

 the true and full names and identities of all defendants in this action, but Plaintiffs have no

 further knowledge or information at this time regarding all responsible parties and are unable to

 ascertain the identity of defendants in this action designated as Doe Private Landowners 1–10.

 The Doe Private Landowner Defendants are sued herein under fictitious names for the reason
 that their true names and identities are unknown to Plaintiffs, except that they may be connected


                                                  14
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 18 of 91 PageID.73



 in some manner with the named Defendants, such as being agents, servants, employees,

 employers, representatives, co-venturers, associates, or independent contractors of Defendants

 and/or were in some manner presently unknown to the Plaintiffs engaged in activities such as

 designing, manufacturing, selling, distributing, installing and/or providing materials and/or

 services to Defendants. The Doe Private Landowner Defendants’ true names, identities,

 capacities, activities, and/or responsibilities are presently unknown to Plaintiffs or their

 attorneys. Plaintiffs pray for leave to amend this Second Amended Complaint to show the true

 names and capacities, activities, and/or responsibilities when the same has been discovered.

        54.     This Second Amended Complaint refers to Defendant Kamehameha Schools, the

 Peter Martin Defendants, Defendant JV Enterprises, and the Doe Private Landowner Defendants

 as the “Private Landowner Defendants.”

        55.     Plaintiffs are informed and believe that the State of Hawai‘i (“State”) is, and was

 at all relevant times herein, a State organized and existing pursuant to the laws of the United

 States and a political subdivision thereof. The State has the capacity to be sued for willful

 misconduct, gross negligence, and recklessness pursuant to HRS § 127A-9.

        56.     Plaintiffs are informed and believe that the Hawaii Housing Finance and

 Development Corporation (“HHFDC”) is, and was at all relevant times herein, a division of the

 State of Hawai‘i whose purpose is to increase and preserve the supply of affordable and

 workplace housing throughout the State by providing financing and development resources. The
 Hawaii Housing Finance and Development Corporation, as an arm of the State, has the capacity

 to be sued for willful misconduct, gross negligence, and recklessness pursuant to HRS § 127A-9.

        57.     Plaintiffs are informed and believe that the Hawai‘i Department of Land and

 Natural Resources (“DLNR”) is, and was at all relevant times herein, a division of the State of

 Hawai‘i that is responsible for managing, administering, and exercising control over public

 lands. The Hawai‘i Department of Land and Natural Resources, as an arm of the State, has the

 capacity to be sued for willful misconduct, gross negligence, and recklessness pursuant to HRS
 § 127A-9.


                                                   15
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 19 of 91 PageID.74



        58.     Plaintiffs have reviewed public and other records available in order to ascertain

 the true and full names and identities of all defendants in this action, but Plaintiffs have no

 further knowledge or information at this time regarding all responsible parties and are unable to

 ascertain the identity of defendants in this action designated as Doe State Landowners 1–10. The

 Doe State Landowner Defendants are sued herein under fictitious names for the reason that their

 true names and identities are unknown to Plaintiffs, except that they may be connected in some

 manner with the named Defendants, such as being agents, servants, employees, employers,

 representatives, co-venturers, associates, or independent contractors of Defendants and/or were

 in some manner presently unknown to the Plaintiffs engaged in activities such as designing,

 manufacturing, selling, distributing, installing and/or providing materials and/or services to

 Defendants. The Doe State Landowner Defendants’ true names, identities, capacities, activities,

 and/or responsibilities are presently unknown to Plaintiffs or their attorneys. Plaintiffs pray for

 leave to amend this Second Amended Complaint to show the true names and capacities,

 activities, and/or responsibilities when the same has been discovered.

        59.     This Second Amended Complaint refers to the State, HHFDC, DLNR, and Doe

 State Landowner Defendants as “State Landowner Defendants.”

        60.     Defendant Maui County (“County”) is, and was at all times relevant herein, a

 municipality organized and existing pursuant to the laws of the State of Hawai‘i and a political

 subdivision thereof. The County Defendant has the capacity to be sued for willful misconduct,
 gross negligence, and recklessness pursuant to HRS § 127A-9.

        61.     This Second Amended Complaint refers to the HEI Defendants, the

 Telecommunications Defendants, the Private Landowner Defendants, the State Landowner

 Defendants, and the County, collectively, as “Defendants.”



                                          JURISDICTION

        62.     All incidents described herein took place in Hawai‘i, within the jurisdiction of this
 Court, and the amount in controversy meets or exceeds the jurisdictional limit of this Court.


                                                  16
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 20 of 91 PageID.75



        63.     The Court has subject matter jurisdiction pursuant to HRS § 603-21.5.

        64.     Venue is proper pursuant to HRS § 603-36(5).



                                  GENERAL ALLEGATIONS

 Commonly Known Fire Risk on Maui

        65.     All Defendants knew about the serious risk of wildfires on Maui. All Defendants

 knew that high winds had toppled power lines in the past, triggering wildfires. And all

 Defendants knew that the dry, nonnative grasses surrounding Lahaina and on other parts of Maui

 were capable of rapidly spreading those wildfires.

        66.     The threat of hurricanes and their attendant high winds invariably loom over

 Hawai‘i and are common knowledge throughout Hawai‘i. A handful of hurricanes endanger the

 State each year. Climate change makes hurricanes more ferocious, increasing the peril for

 Hawai‘i statewide.

        67.     Since 2000, at least 22 hurricanes or their remnants have either impacted or nearly

 impacted Hawai‘i, thirteen of which occurred since 2010. In recent years, dozens of hurricanes

 or tropical storms made landfall or passed within miles of Hawai‘i’s shores.

        68.     The frequency of brush fires on Maui is also common knowledge, particularly in

 late summer and fall when the endemic nonnative grasses dry out and turn most of Maui from

 green to brown. Every year, multiple brush fires break out across Maui, burning dozens,
 hundreds, or thousands of acres at a time and burning homes, businesses, and/or personal

 property. It is impossible to live, work, or own land on Maui without knowing that serious brush

 fires occur every year and that these fires spread rapidly in Maui’s dry, nonnative grasses.

        69.     Nearly a decade ago, the Hawaii Wildfire Management Organization issued a

 2014 wildfire mitigation plan, warning that Lahaina was among Maui’s most fire-prone areas

 based on its proximity to grasslands, steep terrain, and frequent winds. The Hawaii Wildfire




                                                 17
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 21 of 91 PageID.76



 Management Organization outlined a plan for working with utilities to help reduce the risk of

 fires.3

           70.   In August 2018, winds from Hurricane Lane ignited a fire that raged in the

 Kaua‘ula Valley in West Maui, uphill from Lahaina. That fire tore through fallow agricultural

 land near the same type of fallow agricultural land that fueled the Lahaina Fire. The Hurricane

 Lane fires burned 21 houses, 27 cars, and more than 2,100 acres; displaced a few dozen people;

 and caused more than $4.3 million in damage. Thankfully, no one died in the blaze. 4

           71.   Just days after the Hurricane Lane fires, Maui residents raised many concerns

 with the then-mayor of Maui and State and County officials at a public meeting: “Why didn’t

 Maui Electric shut off the power given the high winds and their equipment having caused other

 fires? Why didn’t emergency staff sound their all-hazard sirens?” These questions raise the very

 same problems that led to and worsened the Lahaina Fire and its attendant impacts. 5

           72.   At the same 2018 public meeting, residents complained that fire hydrants ran out

 of water, something the fire chief could not explain. The hydrants also ran out of water during

 the Lahaina Fire five years later. 6

           73.   Again, at the 2018 town hall, residents questioned County and State officials

 about why they did not blare the All-Hazard Statewide Outdoor Warning Siren System

 (“Sirens”) to warn residents about the 2018 fire. A staffer responded, “Currently we don’t have a

 protocol for sounding sirens for fires, but it doesn’t mean it isn’t something we can look at.” The
 Sirens also sat silent during the Lahaina Fire five years later. 7

 3 Dan Frosch & Jim Carlton, Hawaii Officials Were Warned Years Ago that Maui’s Lahaina

 Faced High Wildfire Risk, WALL STREET JOURNAL, (Aug. 11, 2023),
 https://www.wsj.com/articles/hawaii-maui-fire-risks-plans-government-e883f3a3.
 4 Brianna Sacks & Justice McDaniel, A terrifying fire struck Maui in 2018. Officials were

 warned of a repeat, WASHINGTON POST, (Aug. 22, 2023),
 https://www.washingtonpost.com/weather/2023/08/22/maui-fire-2018-lahaina-warning/.
 5 Id.

 6 Id.

 7 Id.




                                                    18
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 22 of 91 PageID.77



         74.    At the very same 2018 meeting, residents asked County and State officials, “If the

 wind exceeds a certain amount, is Maui Electric required to shut down?” “Those wires are

 whipping up there. And that was the cause of the fire.” Officials responded, “That was not a

 conversation that was had” and confirmed MECO did not have a protocol in place to shut down

 power in advance of high winds. Preceding and during the Lahaina Fire, the HEI Defendants still

 did not have a protocol in place to shut down the power during high winds, five years later. 8

         75.    In 2019, the Hawaii Wildfire Management Organization published a report

 entitled, “A Collaborative, Landscape-Level Approach to Reduce Wildfire Hazard Across

 Hawaii, 2018–19 Vegetation Management Rapid Mapping Assessment and Collaborative Action

 Planning – Maui Report.” This report contains multiple recommendations to reduce the risk of a

 wildfire in Lahaina, including fuel reduction; replacing invasive, fire-promoting grasses to less

 flammable species; and the construction of fire breaks in the area where the Lahaina Fire

 started.9

         76.    In fact, former top Hawaiian forestry official, Michael Buck, shared a letter with

 Hawai‘i’s wildfire prevention community after the Lahaina Fire. In that letter, he lamented, “No

 landowner, public or private, should be allowed for any reason to maintain hundreds of acres of

 flammable grass and fuel that threaten the lives of citizens” and that “[t]he Lahaina Fire was an

 avoidable tragedy.”10




 8 Id.

 9 County of Maui, State of Hawai‘i, Cost of Government Commission, Report on Wildfire

 Prevention and Cost Recovery on Maui, Exhibit D: Hawaii Wildfire Management Association, A
 Collaborative Landscape-Level Approach to Reduce Wildfire Hazard Across Hawai‘i: 2018–
 2019 Vegetation Management — Rapid Mapping Assessment and Collaborative Action Planning
 — Maui Report (July 2021),
 https://www.mauicounty.gov/DocumentCenter/View/129491/Report-on-Wildfire-Prevention--
 Cost-Recovery-on-Maui---Part-4-Exhibit-D-25-MB, pp. 1, 4, 9, 11, 17, 18, 19, 20, 21, 25, 27
 10
   Dan Frosch, Zusha Elinson, Jim Carlton & Christine Mai-Duc, Everybody Knew the Invasive
 Grass of Maui Posed a Deadly Fire Threat, but Few Acted, WALL STREET JOURNAL, (Aug. 25,
 2023), (https://www.wsj.com/us-news/climate-environment/maui-fire-invasive-grass-cf6dbca2).


                                                 19
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 23 of 91 PageID.78



          77.   According to Clay Trauernight, a fire scientist at the University of Hawaii at

 Manoa, highly flammable grasses, such as buffelgrass and guinea grass, both native to Africa,

 have grown unchecked on Maui, ultimately dominating native species. These invasive grasses

 amount to between eight and twenty tons an acre on the island, compared with just one or two

 tons in open areas of the U.S. mainland. He explained, “You get this explosive fire growth

 because there is just so much” highly flammable grass.11

          78.   In 2020, researchers from the University of Hawaii and the East-West Center

 connected the 2018 fires on Maui and O‘ahu to winds from Hurricane Lane.

          79.   That 2020 report, entitled “Fire and Rain: The Legacy of Hurricane Lane in

 Hawai‘i,” published in the American Meteorological Society’s Journal, found that neither

 thunderstorms nor lightning started the 2018 fires on Maui and O‘ahu. The Honolulu Fire

 Department attributed the O‘ahu fire to power lines arcing in Hurricane Lane’s high winds. The

 fires on Maui, including in the Kaua‘ula Valley in West Maui, uphill from Lahaina, “required

 significant suppression resources,” which included more than 70 County firefighters and

 additional support from State airport fire crews.12

          80.   The County Defendant was also fully aware of the potential for devastating

 wildfires since at least 2020—if not sooner given the 2018 and 2019 fires on Maui.

          81.   In 2020, the Maui County Hazard Mitigation Plan Update warned that “[i]t is

 assumed that all current and future buildings, critical facilities, and populations in Maui County
 are at risk to wildfire.” Even more specific, the 2020 Maui County Hazard Mitigation Plan

 Update depicts Lahaina and all Lahaina buildings as occupying a “High” Wildfire Risk Area: 13


 11 Id.

 12 Alison D. Nugent, Ryan J. Longman, Clay Trauernicht, Matthew P. Lucas, Henry F. Diaz, and

 Thomas W. Giambelluca, Fire and Rain: The Legacy of Hurricane Lane in Hawaiʻi, (June
 2020), https://journals.ametsoc.org/view/journals/bams/101/6/BAMS-D-19-0104.1.xml.
  Maui Emergency Management Agency, County of Maui, Hawai‘i, Hazard Mitigation Plan
 13

 Update (August 2020), https://www.mauicounty.gov/DocumentCenter/View/125977/2020-
 Maui-County-Hazard-Mitigation-Plan-Final, pp. 489, 503.


                                                  20
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 24 of 91 PageID.79




        82.     The Mitigation Plan Update also warned that West Maui had a “Highly Likely

 (greater than 90% annual chance)” probability of experiencing wildfires: 14




 14 Id. Table 68 in the Hazard Mitigation Plan Update appears to mistakenly label the column

 depicting “the probability of a wildfire hazard” as “Landslide Probability.”


                                                 21
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 25 of 91 PageID.80



         83.     In July 2021, the County’s Cost of Government Commission (“Commission”)

 issued a Report on Wildfire Prevention and Cost Recovery on Maui (“Wildfire Prevention

 Report”). The Commission “helps the County promote economy, efficiency, and improved

 service to the public by reviewing existing County operations and policies and making

 recommendations to improve them.” The Commission “[s]ubmits an annual report of its findings

 and recommendations to the Mayor and Council.”15

         84.     Following Maui’s unprecedented wildfire season in 2019, the Commission

 decided “to examine the County’s wildfire prevention and response practices and costs,” given

 its interest “in identifying the current and potential future costs associated with firefighting

 response and prevention for the County.” The July 2021 Wildfire Prevention Report cataloged

 the findings of that investigation. 16

         85.     The July 2021 Wildfire Prevention Report specifically warned about the threats

 that wildfires posed to the State of Hawai‘i and, specifically, to Maui, including the following:

         •     “[T]he number of incidents from a combination of wild/brush/forest fires appears to

               be increasing, and that this increase poses an increased threat to citizens, properties,

               and sacred sites;”

         •     “Island communities are particularly vulnerable because populations tend to be

               clustered and dependent on single highways, often located on the island edge;”

         •     “Escape routes and evacuation locations and resources for populations impacted by
               fire incidents are also impeded by fire incursions;”

         •     “Importantly, Hawaii’s and Maui’s fire problem is more extreme than on the U.S.

               mainland;” and

 15 County of Maui, State of Hawai‘i, Cost of Government Commission,

 https://www.mauicounty.gov/179/Cost-of-Government-Commission, (last visited Aug. 24,
 2023).
 16 County of Maui, State of Hawai‘i, Cost of Government Commission, Report on Wildfire

 Prevention and Cost Recovery on Maui, (July 2021),
 https://www.mauicounty.gov/DocumentCenter/View/129493/Report-on-Wildfire-Prevention--
 Cost-Recovery-on-Maui---Part-1-Report--Exhibits-A-B-33-MB, p. 1.


                                                   22
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 26 of 91 PageID.81



         •     “As of June 22, 2021, the U.S. Drought Monitor designated all of Maui Island as

               either in a ‘moderate drought’ or ‘severe drought.”17

         86.     The Wildfire Prevention Report also included data showing that fires will

 continue increasing in frequency and severity; exhibits depicting which Maui communities were

 the most vulnerable to wildfires (including Lahaina); and the activities that increase wildfire risk

 (such as power lines):18




 17 Id. at pp. 1–3.

 18 Hawaii Wildfire Management Association, A Collaborative Landscape-Level Approach to

 Reduce Wildfire Hazard Across Hawai‘i: 2018–2019 Vegetation Management — Rapid Mapping
 Assessment and Collaborative Action Planning —Maui Report, supra,
 https://www.mauicounty.gov/DocumentCenter/View/129491/Report-on-Wildfire-Prevention--
 Cost-Recovery-on-Maui---Part-4-Exhibit-D-25-MB, at pp. 2, 7–8.


                                                  23
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 27 of 91 PageID.82




        87.     The Wildfire Prevention Report also identified several problems and actionable

 solutions that would have lessened the risk of the Lahaina Fire, such as the “[r]eduction of alien

 plant life that serves as fuel” through the implementation of “an aggressive plan to replace these

 hazardous fuel sources with native plants to reduce combustible fuel while increasing water

 retention.” The Wildfire Prevention Report also explained that “[a]boveground power lines that
 fail, short, or are low hanging can cause fire ignition (sparks) that could start a wildfire,

 particularly in windy or stormy conditions,” which “is exacerbated by overgrown areas in the

 rights of way beneath the lines.” The Wildfire Prevention Report identified responsive action to

 the problems posed by power lines, which included routine inspections of “power transmission




                                                   24
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 28 of 91 PageID.83



 lines and rights of way” and tasking both the County and “electric utility companies with

 corrective actions,” like “infrastructure upgrades” and fuel reduction. 19

         88.      The Wildfire Prevention Report also concluded that creating additional fines or

 penalties for causing wildfires was unnecessary, in part, because wildfire victims and survivors

 could sue for negligence.20

         89.      Notably, the Wildfire Prevention Report found that the recommended fire

 prevention measures would not dramatically increase costs for the County, in part, because for

 Fiscal Year 2011 to Fiscal Year 2020, Maui’s fire/rescue operations budget increased “almost

 $4,000,000 above inflation, to meet increasing firefighting requirements” and because “pressure

 on current firefighting budgets is offset by federal grants that can be accessed if fire costs exceed

 budgetary levels.”21 Thus, budgetary constraints do not explain the County Defendant’s failures.

         90.      The Maui Charter requires the Commission to provide the Wildfire Prevention

 Report to Maui’s Mayor, County Council, and County Auditor.22

         91.      Thus, the County Defendant was on direct notice of the substantial risk that

 wildfires pose to Maui and the methods by which it could prevent these wildfires years prior to

 the Lahaina Fire; heeding the warnings and recommendations in the Wildfire Prevention Report

 could have prevented and/or drastically reduced the destructive impact of the fire.

         92.      Despite the numerous, detailed warnings and recommendations the Commission

 provided to Maui more than two years before the Lahaina Fire, the County Defendant
 nevertheless failed to adopt appropriate wildfire prevention measures.

         93.      The HEI Defendants also had specific knowledge of the risk of wildfire on Maui.

 In fact, HEI submitted a 2022 request for funding from the public utilities commission to offset

 19 Report on Wildfire Prevention and Cost Recovery on Maui, supra,

 https://www.mauicounty.gov/DocumentCenter/View/129493/Report-on-Wildfire-Prevention--
 Cost-Recovery-on-Maui---Part-1-Report--Exhibits-A-B-33-MB, at pp. 11–12.
 20 Id. at pp. 4, 6.

 21 Id. at pp. 2, 6.

 22 Charter, County of Maui, Section 3-9.3(3) (2023 ed.).




                                                  25
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 29 of 91 PageID.84



 the $189.7 million HEI would need to spend to bolster its power grid statewide, which included

 wildfire-prevention measures.23

          94.    Jennifer Potter, who resigned from the Hawaii Public Utilities Commission in

 October 2022, and who lived in Lahaina on Maui, confirmed that the HEI Defendants knew

 about the wildfire risk to Maui: “There was absolutely knowledge within the state and within the

 electric industry that fire was a huge, huge concern on the island of Maui, and even more so than

 any of the other islands[.]”24

          95.    In fact, the HEI Defendants indicated in their funding request that “[t]he risk of a

 utility system causing a wildfire ignition is significant” and that the HEI Defendants sought

 funding, in part, to guard against their facilities being “the origin or a contributing source of

 ignition for a wildfire.”25

          96.    Finally, the Private Landowner Defendants and State Landowner Defendants

 knew, or should have known, about the acute risk of wildfire on their land on Maui. The Private

 Landowner Defendants and State Landowner Defendants knew that their fallow agricultural land

 had been overtaken by dry, nonnative grasses. They also knew, or had reason to know, that

 wildfires ravaged similar fallow agricultural land on Maui on multiple prior occasions, including

 as recently as 2018 when Hurricane Lane triggered fires that exploded through 2,100 acres of

 nonnative grasses in the same region where they own, develop, and manage their land. In fact,

 David Bowman, a professor of pyrogeography and fire science at the University of Tasmania




 23 Frosch & Carlton, supra, https://www.wsj.com/articles/hawaii-maui-fire-risks-plans-

 government-e883f3a3.
 24 Id.

 25 Brianna Sacks, Hawaii utility faces scrutiny for not cutting power to reduce fire risks, THE

 WASHINGTON POST, (Aug. 12, 2023), https://www.washingtonpost.com/climate-
 environment/2023/08/12/maui-fire-electric-
 utility/?utm_campaign=wp_post_most&utm_medium=email&utm_source=newsletter&wpisrc=n
 l_most.


                                                   26
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 30 of 91 PageID.85



 described the situation in Lahaina this way: “The town was basically surrounded by a powder

 keg waiting to go off with a spark.” 26

          97.    “The hills above Lahaina’s history downtown have been surrounded by

 nonnative grasses for more than a century.” It is well know that “[t]he grasses — relics of the

 sugar cane plantations in the area that largely shuttered in 1999 — dried out the landscape” and

 that those grasses “grew taller after winter rains.” Every year, the grasses “grew taller after

 winter rains,” then “[b]rushfires would sweep through and the species adapted and regrew,

 crowding out native grasses and moving close to homes.” Sadly, a Washington Post investigation

 has revealed that “the geographic spread and density of nonnative grasses were key elements to

 creating a fast-moving, uncontrollable fire” that ultimately wiped out Lahaina. 27

          98.   Activists and experts have been sounding the alarm about the fire risk associated

 with nonnative, invasive, and highly flammable grasses since at least 2018, describing the land

 around Lahaina as a “vast swath of vegetated fuels” and warning that landowners had “let these

 lands turn into match sticks.” As discussed, wildfire experts in Hawai‘i had named vegetation

 management and nonnative grasses as vital to mitigating fire risk on Maui.28




 26 Imogen Piper, Joyce Lee, Elahe Izadi & Brianna Sacks, Maui’s neglected grasslands caused

 Lahaina fire to grow with deadly speed, WASHINGTON POST, Sept. 2, 2023),
 https://www.washingtonpost.com/investigations/interactive/2023/lahaina-wildfires-invasive-
 grass-destruction/.
 27 Id.

 28 Id.




                                                  27
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 31 of 91 PageID.86



          99.    The Private Landowner Defendants and State Landowner Defendants are the three

 main owners of the fields where the fires started on August 8, 2023. The following graphic,

 created by reporters at the Washington Post, depicts the “Ownership of burnt nonnative grassland

 in Lahaina:29




 29 Id.




                                                28
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 32 of 91 PageID.87



          100.   None of these Private Landowner Defendants or State Landowner Defendants

 appears to have engaged with the Hawaii Wildfire Management Organization 2014 wildfire

 mitigation plan or the 2019 Hawaii Wildfire Management Organization’s Report—that

 specifically addressed landscaping and vegetation management on Maui.30



 Specific Warnings Preceding Lahaina Fire

          101.   On Friday, August 4, 2023, the National Weather Service in Honolulu (“NWS”)

 posted on X, formerly known as Twitter, that Hawai‘i could experience “indirect impacts” from

 Hurricane Dora from Monday, August 7, 2023 through Wednesday, August 9, 2023, including

 “Strong and gusty trade wins” and “Dry weather & high fire danger.”




          102.   Two days later, on Sunday, August 6, 2023, NWS posted a warning on X:

 “Strongest winds in yellows & oranges on map result from significant pressure differences

 30 Id.




                                               29
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 33 of 91 PageID.88



 between high & low pressures. Combined w/ dry conditions, these winds pose a serious fire &

 damaging wind threat. Stay alert!” NWS also posted an update on Hurricane Dora on X, which

 included the following warning: “While Hurricane Dora passes well south with no direct impacts

 here, the strong pressure gradient between it & the high pressure to the north creates a threat of

 damaging winds & fire weather (due to ongoing dry conditions) from early Mon to Wed.”




        103.    On Monday, August 7, 2023, NWS issued an updated warning for the Hawaiian

 Islands, as reported in The Maui News. This warning contained both a High Wind Watch and a

 Fire Warning for the leeward portions of the State, which included Lahaina. The warning




                                                  30
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 34 of 91 PageID.89



 cautioned that damaging winds could blow down power lines and that any fires that developed

 would likely spread rapidly.31

        104.    On Tuesday, August 8, 2023, the NWS issued both a High Wind Warning and

 Red Flag Warning for portions of the Hawaiian Islands, including West Maui. Specifically, the

 NWS warned the following: “High Wind: 30–45 mph winds, gusts up to 60 mph . . . . Red Flag:

 High fire danger with rapid spread. NO outdoor burning. Stay safe & cautious!”




 31
  National Weather Service issues high wind watch, fire warning in effect through late Tuesday,
 MAUI NEWS, (Aug. 7, 2023),
 https://www.mauinews.com/news/local-news/2023/08/national-weather-service-issues-high-
 wind-watch-fire-warning-in-effect-through-late-tuesday/.


                                               31
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 35 of 91 PageID.90



        105.    Per NWS, a Red Flag Warning “means that critical fire weather conditions are

 either occurring now or will shortly. A combination of strong winds, low relative humidity, and

 warm temperatures can contribute to extreme fire behavior.”

        106.    Despite the HEI Defendants’ knowledge about these Red Flag and other

 warnings, they left their power lines energized. These power lines foreseeably ignited the fast-

 moving, deadly, and destructive Lahaina Fire, which destroyed homes, businesses, churches,

 schools, and historic and cultural sites. The fire killed scores of people and ruined hundreds—if

 not thousands—of lives.

        107.    This deadly fire also displaced thousands of people, who lost their homes, forcing

 them to live in shelters, campgrounds, hotels, and cars.

        108.    Defendants knew that the high winds that NWS predicted would topple power

 poles, knock down power lines, and ignite vegetation. The Defendants also knew that if the HEI

 Defendants’ overhead electrical equipment started a fire, it would spread at a critically fast rate

 to the Plaintiffs’ and Putative Class Members’ properties, without warning and without sufficient

 time for them to safely evacuate themselves and their loved ones, to gather their pets, or to

 collect their other possessions. The Defendants also knew that downed power lines would make

 roads impassable, blocking limited evacuation routes.

        109.    The HEI Defendants also knew that their overhead electrical infrastructure did not

 use available technologies to mitigate fire risk, including non-expulsion fuses, covered
 conductors, underground power lines, composite power poles, and fiberglass and other non-wood

 materials.

        110.    On August 8, 2023, at approximately 6:37 a.m., someone reported a brush fire

 near Lahainaluna Road. Authorities ordered evacuations minutes later, at 6:40 a.m., in the area




                                                  32
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 36 of 91 PageID.91



 surrounding Lahaina Intermediate School and closed Lahainaluna Road between Kelawea Street

 and Kuialua Street. 32

        111.    At approximately 9:00 a.m. on August 8, 2023, the Maui Fire Department

 declared the three-acre Lahaina brush fire 100% contained. However, power outages negatively

 impacted the ability to pump water, so authorities asked the public to conserve water in West

 Maui. The authorities kept Lahainaluna Road closed between Kelawea and Kuialua Streets,

 while HEI responded to a downed power line in the area. 33

        112.    Later the same day, at 4:45 p.m., Maui Now reported that “[a]n apparent flareup

 of the Lahaina Fire forced the closure of Lahaina Bypass around 3:30 p.m. Evacuations are

 occurring in the vicinities of Lahainaluna Road, Hale Mahaolu and Lahaina Bypass . . . .

 Multiple roads, including Honoapi‘ilani Highway from Hokiokio Place to Lahaina Bypass, are

 closed due to downed power lines.”34

        113.    Together, the initial fire that started on August 8, 2023, at 6:37 a.m. and the later

 flare-ups of that fire at 9:30 a.m. and 4:45 p.m. comprise the Lahaina Fire.

        114.     The Lahaina Fire caused and/or contributed to the destruction of the town of

 Lahaina, killing scores of people and destroying hundreds of homes and businesses.




 32 Fire crews battling brush fire in Lahaina; residents in area evacuated, MAUI NOW, (Aug 8,

 2023), https://mauinow.com/2023/08/08/haleakala-highway-closure-due-to-brush-fire-
 evacuation-of-kula-200-off-auli%CA%BBi-dr/; Lahaina Inferno Began After Firefighters
 Departed a ‘Contained’ Scene, THE NEW YORK TIMES, (Aug. 23, 2023),
 https://www.nytimes.com/2023/08/23/us/hawaii-maui-lahaina-fire-contained.html.
 33 Lahaina fire declared 100% contained; water conversation urged due to power outages,
 MAUI NOW, (Aug. 8, 2023), https://mauinow.com/2023/08/08/haleakala-highway-closure-due-to-
 brush-fire-evacuation-of-kula-200-off-auli%CA%BBi-dr/.
 34
   Evacuation orders for part of Lahaina due to apparent flareup of West Maui fire, MAUI NOW,
 (Aug. 8, 2023), https://mauinow.com/2023/08/08/haleakala-highway-closure-due-to-brush-fire-
 evacuation-of-kula-200-off-auli%CA%BBi-dr/.


                                                  33
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 37 of 91 PageID.92



        115.    The Google Earth map image below depicts the location where the Lahaina Fire

 reportedly started (the “Area of Origin”). One of the HEI Defendants’ power substations is

 located near where both the initial three-acre fire started and where authorities reported a downed

 power line early on August 8, 2023.




        116.    The image below is an aerial view of the Area of Origin:




                                                 34
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 38 of 91 PageID.93



           117.   The HEI Defendants owed a duty to design, construct, inspect, repair, and

 adequately maintain their power poles, power lines, transformers, reclosers, and other electrical

 equipment. The HEI Defendants also owed a duty to properly maintain and operate their power

 lines, overhead electrical infrastructure, and equipment to ensure they would not cause a fire.

 These duties included deenergizing their power lines during Red Flag Warnings to prevent fires

 and conducting adequate vegetation management, such as clearing vegetation, trees, and tree

 limbs that could come in contact with power lines and equipment. In addition, the HEI

 Defendants knew that their electrical infrastructure was inadequate, aging, and/or vulnerable to

 foreseeable and known weather conditions. The HEI Defendants failed to fulfill each of these

 duties.

           118.   As electric utility companies, the HEI Defendants were engaged in a dangerous

 activity and, accordingly, owed the public a heightened duty of care to avoid foreseeable risks

 attendant to this activity, including the risk of fire. This heightened duty included exercising a

 very high degree of care and prudence, such as ensuring the safe transmission of electricity over

 their infrastructure during high-wind events and monitoring weather conditions that would affect

 their electrical infrastructure (i.e., forecasted high winds and Red Flag Warnings). The HEI

 Defendants also owed the public a duty to mitigate damage to their electrical infrastructure from

 high winds, specifically, to prevent a wildfire. Defendants further owed a duty to design and

 construct their power poles and power lines to perform safely and not fail during foreseeable
 wind events that would endanger Plaintiffs’ and Putative Class Members’ lives and property.

           119.   Unfortunately, the HEI Defendants failed to take these steps, and on August 8,

 2023, Hawaii News Now reported that “[m]ore than 30 downed power poles” were “reported on

 Maui.”35



 35 Kiana Kalahele, More than 30 downed power poles reported on Maui; thousands without

 power, HAWAII NEWS NOW, (Aug. 8, 2023),
 https://www.hawaiinewsnow.com/2023/08/08/strong-winds-knock-out-power-thousands-
 statewide/.


                                                  35
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 39 of 91 PageID.94



        120.    Maui Now reported that Defendants were working to restore power to 12,400

 customers and reminded readers that they should assume a downed power line “is energized and

 dangerous.” The same article included depictions of downed, leaning, and/or damaged power

 poles, many touching vegetation below them. 36




        121.    The practice of deenergizing power lines during fire weather conditions is
 commonplace in the Western United States. California utilities, such as Southern California

 Edison Company, Pacific Gas & Electric, and San Diego Gas & Electric, all have implemented

 Public Safety Power Shutoffs (“PSPS”) during Red Flag and High Wind conditions. These

 utilities have been using PSPS for years to prevent wildfires.



 36
   High winds result in power outages to thousands in West Maui, Olinda Pi‘iholo, MAUI NOW,
 (Aug. 8, 2023), https://mauinow.com/2023/08/08/high-winds-result-in-power-outages-in-west-
 maui-olinda-pi%CA%BBiholo-and-moloka%CA%BBi/.


                                                  36
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 40 of 91 PageID.95



          122.   In 2019, the HEI Defendants issued a press release, attached as Exhibit A (“2019

 Press Release”). In the 2019 Press Release, the HEI Defendants expressed their commitment to

 conduct drone surveys across their five-island territory to identify areas vulnerable to wildfires

 and to determine the best course of action to protect the public and electrical infrastructure.

 Further, the 2019 Press Release stated that the drone inspections formed part of the HEI

 Defendants’ “proactive assessment and management of vegetation near their electrical

 infrastructure, especially in drought-prone or dry bush areas.” The 2019 Press Release also stated

 that HEI, MECO, and HELCO evaluated and studied the Wildfire Mitigation Plans that the

 major California utilities had filed with the California Public Utilities Commission. These

 Wildfire Mitigation Plans included a PSPS program for shutting off the power to their power

 lines during High Wind and Red Flag conditions to prevent wildfires.

          123.   The HEI Defendants never created a PSPS plan. According to The Washington

 Post, HEI Defendants were “aware that a power shut-off was an effective strategy, documents

 show, but had not adopted it as part of its fire mitigation plans, according to [HEI] and two

 former power and energy officials” the paper interviewed. The HEI Defendants knew shutting

 off power is “a successful way to prevent wildfires when additional robust techniques are not in

 place.”37

          124.   Ms. Potter, the former member of the State’s public utilities commission,

 described the HEI Defendants as “not as proactive as they should have been” and criticized them
 for not taking meaningful steps to address their “inadequacies in terms of wildfire.” 38

          125.   In fact, according to The Washington Post, “Hawaii is powered by a grid that uses

 old wooden poles that are largely uninsulated and strung with lush vegetation over miles of

 rugged terrain, according to utility specialists,” and “residents and energy experts said they have

 37 Sacks, supra, https://www.washingtonpost.com/climate-environment/2023/08/12/maui-fire-

 electric-
 utility/?utm_campaign=wp_post_most&utm_medium=email&utm_source=newsletter&wpisrc=n
 l_most.
 38 Id.




                                                  37
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 41 of 91 PageID.96



 long called for the utility to harden its grid, and despite the cost, to put more of it

 underground.”39

          126.   Michael Wara, a wildfire expert who directs the Climate and Energy Policy

 Program at Stanford University said the pattern of the Lahaina Fire “suggests that a spate of

 small ignitions combined to form a bigger blaze” and “‘the only real source of that is power

 lines.’”40

          127.   The catastrophic losses from the Lahaina Fire could have been prevented had the

 HEI Defendants implemented a PSPS prior to the fire starting and taken other reasonable steps to

 prevent their electrical equipment from igniting the fire.

          128.   In addition, the Mayor of Maui noted that downed power poles added to the chaos

 surrounding the Lahaina Fire, as downed power poles with live wires still attached cut off two

 important roads, leaving only the narrow highway passable.41

          129.   Pursuant to a Pole Licensing Agreement, the Telecommunications Defendants

 own and operate telecommunications equipment attached to the HEI Defendants’ wooden power

 poles located on Maui. The Telecommunications Defendants owed a duty to properly design,

 construct, install, use, inspect, repair, and adequately maintain their telecommunications

 equipment attached to the HEI Defendants’ wooden power poles in a way that would not

 overload those poles and cause them to break, snap, and fail during a high wind-event, like the

 High Wind Watch and Red Flag Warning that occurred on August 8, 2023. Unfortunately, the
 Telecommunications Defendants breached these duties by overloading some of the HEI

 39 Id.

 40 Id.

 41 Ty O’Neil, Claire Rush, Jennifer Sinco Kelleher & Rebecca Boone, Maui residents had little

 warning before flames overtook town; at least 55 people died, abc7: EYEWITNESS NEWS,
 (Aug. 11, 2023), https://abc7.com/hawaii-wildfire-wildfires-strong-winds-maui/13632163/;
 Brianna Sacks, Hawaii utility faces scrutiny for not cutting power to reduce fire risks, THE
 WASHINGTON POST, (Aug. 12, 2023), https://www.washingtonpost.com/climate-
 environment/2023/08/12/maui-fire-electric-
 utility/?utm_campaign=wp_post_most&utm_medium=email&utm_source=newsletter&wpisrc=n
 l_most.


                                                    38
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 42 of 91 PageID.97



 Defendants’ wooden power poles and causing them to become unstable, resulting in power poles

 snapping, breaking, and failing during the high-wind event on August 8, 2023. These failures

 both ignited multiple wildfires on Maui on August 8, 2023, including the Lahaina Fire, and

 contributed to the spread of the Lahaina Fire.

        130.    Specifically, the HEI Defendants’ Pole Number 7A was overloaded with power

 and telecommunications equipment long before August 8, 2023. In October 2019, Google’s

 Street View photography captured the following photograph of Pole Number 7A, which shows

 both that HEI Defendants and the Telecommunications Defendants improperly and unsafely

 installed, tensioned, and maintained equipment and that the wooden power pole was

 subsequently leaning and in a continuous, downhill pull:




                                                  39
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 43 of 91 PageID.98



 As is set forth in more detail below, Pole Number 7A snapped and fell on August 8, 2023,

 initiating this tragedy.

         131.    Moreover, the Private Landowner Defendants and State Landowner Defendants

 owed a duty to perform adequate vegetation management on their land, including fuel reduction,

 conversion of highly-flammable nonnative invasive grasses to less flammable vegetation, and to

 install fire breaks—all of which would prevent the dangerous spread of a wildfire from their land

 to neighboring properties. The Private Landowner Defendants and State Landowner Defendants

 breached these duties, contributing to the ignition of the Lahaina Fire, the catastrophic spread of

 the Lahaina Fire, and the blocking and slowing of evacuation routes, which trapped people in the

 Lahaina Fire.

         132.    The County Defendant owed a duty to implement any and all fire prevention

 measures and emergency response services reasonably available. The County Defendant

 breached its duties to its residents by, among other things; failing to properly maintain vegetation

 in the County, especially in close proximity to power lines; failing to create and implement an

 aggressive plan to reduce nonnative plants on Maui; failure to implement routine inspection of

 power transmission lines and to work with the HEI Defendants on infrastructure upgrades; and

 failure to activate the existing All Hazard Emergency Sirens to give evacuation warnings.

         133.    In addition to these failures, the County Defendant failed to utilize its Sirens to

 warn people of the inferno tearing through Lahaina. Prior to the Lahaina Fire, the County
 Defendant’s website stated that “[t]he all-hazard siren system can be used for a variety of both

 natural and human-caused events; including tsunamis, hurricanes, dam breaches, flooding,

 wildfires, volcanic eruptions, terrorist threats, hazardous material incidents, and more.” 42 But the

 County Defendant failed to sound the Sirens, thus, failing to warn people about the Lahaina

 Fire—a decision with grave and devastating consequences.


 42
    County of Maui Outdoor Warning Siren testing, All-Hazard Statewide Outdoor Warning Siren
 System: Testing, Reporting, and Information for Maui County Sirens,
 https://www.mauisirens.com (last visited Sept. 3, 2023) (emphasis added).


                                                   40
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 44 of 91 PageID.99



        134.    Defendants’ collective failures have caused Plaintiffs, the Putative Class and

 Subclass Members, and their communities to suffer devastating property damage; economic

 losses; and disruption of their homes, businesses, livelihoods, and mental well-being. Life will

 never be the same for the thousands of victims and survivors of the Lahaina Fire.



 Sequence Of Events That Caused the Lahaina Fire

        135.    At approximately 3:00 a.m. on August 8, 2023, the HEI Defendants’ Pole Number

 7A snapped near its base and fell, causing damage to the cross-arms of adjacent Pole Number

 E7B. Cross-arms are the wooden “T” sections attached to the top of power poles that support the

 power lines. The damage that Pole Number 7A caused to the cross-arms of Pole Number E7B

 caused an electrical fault and power outage in the area. An electrical fault occurs when an

 energized line comes into contact with a foreign object, causing the electrical current to be

 interrupted, usually resulting in a fuse or recloser device shutting off power.

        136.    The reason Pole Number 7A snapped and fell, causing damage to the cross-arms

 of Pole Number E7B was (1) because the HEI Defendants failed to properly design, inspect, and

 maintain these poles; and (2) the Telecommunications Defendants overloaded the wooden power

 poles by tensioning their telecommunications cables attached to one side of these poles too

 tightly, thus, causing the poles to lean from a straight and upright position. This tension on the

 poles and their subsequent leaning subjected the poles to more shear force from high winds than
 the poles would have experienced if they had remained in a straight and upright position.

        137.    A young woman named La‘i, who lived in Lahaina, woke up suddenly around

 3:00 a.m. when something bright flashed outside the second-story window of her home, located

 on Lahainaluna Road near one of the HEI Defendants’ substations.43 This bright flash La‘i

 witnessed was likely an electrical arcing event when Pole Number 7A broke in the wind and


 43
   Brianna Sacks, Power lines likely caused Maui's first reported fire, video and data show,
 WASHINGTON POST, (Aug. 16, 2023) https://www.washingtonpost.com/climate-
 environment/2023/08/15/maui-fires-power-line-cause/.


                                                  41
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 45 of 91 PageID.100



 caused the HEI Defendants’ energized power lines to fall to the ground and create at least one

 electrical fault. An electrical arc occurs when an energized power line comes into contact with a

 foreign object and discharges the electricity from the power line to the foreign object, creating a

 shower of sparks and often melting a section of the bare copper conductor. This process causes

 molten metal from the super-heated section of power line to fall into the brush on the ground

 below, causing a fire. According to Whisker Labs, seven of its sensors in Lahaina recorded two

 significant faults at 2:44 a.m. and 3:30 a.m. in that same area. 44

          138.   The failure of the HEI Defendants’ Pole Number 7A likely caused a power outage

 in the area of Lahainaluna Road and Ho‘okahua Street between approximately 3:00 a.m. and

 6:10 a.m. on August 8, 2023. Carly Agbayani, another Lahaina resident who lived in the same

 area, reported waking up around 5:00 a.m., sweating and realized that her air conditioning was

 off and that her lights would not turn on. Around 6:00 a.m., she reported that her air conditioning

 turned on again when power was restored. According to Whisker Lab’s sensor data, power in

 parts of Lahaina came back on briefly between 6:10 a.m. until 6:39 a.m. 45

          139.   Despite Pole Number 7A breaking in the wind and damaging the cross-arms of

 Pole Number E7B around 3:00 a.m., thus, causing a fault, the HEI Defendants recklessly

 restored power to their power lines along Lahainaluna Road at approximately 6:10 a.m. When

 Pole number 7A broke and fell to the ground, the resulting force and stress on the power lines

 strung between Pole Number 7A and Pole Number 25 caused the south phase conductor strung
 between Pole Numbers 24 and 25 to break and fall to the ground sometime between

 approximately 3:00 a.m. and 6:37 a.m. when what the HEI Defendants call the Morning Fire first

 erupted. When the HEI Defendants restored power to this circuit around 6:10 a.m., that

 restoration of power caused the downed power line to arc on the ground, igniting multiple fires

 between Pole Numbers 24 and 25. These multiple fires started the Lahaina Fire.



 44 Id.

 45 Id.




                                                   42
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 46 of 91 PageID.101



           140.   Instead of restoring power without investigating, the HEI Defendants should have

 patrolled the power poles and power lines in the area to determine the cause of the 3:00 a.m.

 electrical fault before restoring electricity to the downed power line between Pole Numbers 24

 and 25.

           141.   In fact, the County informed the public that a brush fire was reported at 6:37 a.m.

 on Lahainaluna Road on August 8, 2023.

           142.   Shane Treu, a neighbor of Carly Agbayani on Lahainaluna Road, began live

 streaming on Facebook around 6:40 a.m. This livestream featured a video of the fire that had just

 started between Pole Numbers 24 and 25, across the street from his house. On the video, Treu

 reports, “A power line just went down. See it right there. That’s the power line that started it.

 And we just got our power back on.” The video then pans up the street towards Pole Number 25

 and Treu then explains, “It started from up the road there. And all of this is still burning.” The

 following screenshot from Mr. Treu’s video shows the fire burning across the street from his

 house and the downed power line between Pole Numbers 24 and 25, and at the base of Pole

 number 24:




                                                   43
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 47 of 91 PageID.102



        143.    The HEI Defendants have admitted that “[V]ideos show the power lines had

 fallen to the ground in high winds near the intersection of Lahainaluna Road and Ho‘okahua

 Street at approximately 6:30 a.m. A small fire that can be seen by the downed power lines

 spread into the field across the street from the Intermediate School.”46

        144.    Plaintiffs filed this putative class action on August 12, 2023. On August 17, 2023,

 Plaintiffs sought a temporary restraining order against the HEI Defendants. Plaintiffs asked the

 Court to order the HEI Defendants to preserve evidence they had collected and removed from the

 Area of Origin. The Court heard Plaintiffs’ motion the same day they filed it. The next day, the

 Court issued an Interim Discovery Order, which required the HEI Defendants to preserve any

 evidence they had collected and removed from the Area of Origin, provide Plaintiffs and their

 counsel an itemized list of all physical evidence removed, and provide Plaintiffs, their counsel,

 and their experts access to the physical evidence removed from the Area of Origin.

        145.    Beginning on August 28, 2023, the HEI Defendants provided preliminary access

 to the Plaintiffs, their counsel and their experts, to view the physical evidence which the HEI

 Defendants had removed from the Area of Origin. The HEI Defendants also gave notice and

 provided access to counsel of record and associated experts, in all of the other cases filed against

 the HEI Defendants arising from the Lahaina Fire. During this inspection, investigators from the

 Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) and the Maui Fire Department

 conducted their own inspection of the physical evidence which the HEI Defendants had removed
 from the Area of Origin, which Plaintiffs’ counsel and experts observed.

        146.    The following photograph, taken during the August 28, 2023 inspection, depicts

 broken pieces of the copper south phase conductor which the HEI Defendants’ experts reported

 to have found on the ground between Pole Numbers 24 and 25, adjacent to Lahainaluna Road.

 The photographed sections of the conductor show evidence of electrical arcing, charring, and

 46 Hawaiian Electric, News Release: Hawaiian Electric provides update on Lahaina fires,

 response, supra
 https://www.hawaiianelectric.com/documents/about_us/news/2023/20230827_lahaina_fires_upd
 ate.pdf


                                                  44
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 48 of 91 PageID.103



 melting, all of which are consistent with an electrical arcing event that happens when an

 energized power line falls to the ground:




        147.    Many of the HEI Defendants’ wooden power poles on Maui are old and beyond

 their useful life span, in poor condition, and do not meet the National Electric Safety Code

 requirement to withstand wind speeds of 105 miles per hour. The fires on Maui even

 immediately after the Lahaina Fire show the HEI Defendants’ continuing pattern of failures in

 meeting their duty to maintain, inspect, repair, and replace old and weakened wooden power

 poles and support equipment before the wooden power poles break and cause wildfires. This

 “wait until it breaks” approach is a cost-saving practice that entails avoiding necessary

 preemptive maintenance and repairs to prevent wooden power poles and overhead power lines
 from failing, breaking, and/or severing during high-wind events. The HEI Defendants’ “wait

 until it breaks” practice continues even after the Lahaina Fire.

        148.    On Saturday, August 26, 2023, a seven-acre wildfire erupted on Old Stuart Road

 in the hills above Ka‘anapali, forcing the evacuation of residents on Anapuni Loop in Lahaina.

 This fire broke out when the HEI Defendants’ Pole Number 59 broke and fell to the ground,

 causing energized conductors to ignite surrounding brush. The following photograph depicts the

 bottom of Pole Number 59, which snapped in high winds:




                                                  45
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 49 of 91 PageID.104




        149.    Another wildfire on Maui occurred recently between Pu‘ukoli‘i Road and

 Kaka‘alaneo Drive above Ka‘anapali. This fire started when a guy-wire securing the HEI

 Defendants’ Pole Number 88 broke from its attachment to the wooden power pole. A guy wire is

 a tensioned cable designed to add stability to a free-standing structure, such as a wooden power

 pole. When the guy-wire attached to Pole Number 88 fell, it made contact with an energized

 power line, causing an arcing event. This arcing event ignited the brush below Pole Number 88.

        150.    The following photographs depict (1) the HEI Defendants’ Pole Number 88 with

 evidence of charring below the cross-arms and (2) Pole Number 88’s broken guy-wire that had
 been previously attached to the metal fastener located near the top of that pole:




                                                 46
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 50 of 91 PageID.105



          Pole Number 88:




          Broken Guy-Wire at Pole Number 88:




                                        47
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 51 of 91 PageID.106




             Broken Guy-Wire at Pole Number 88 (Con’t):




         151.    The HEI Defendants’ “wait until it breaks” practice caused and contributed to the
 Lahaina Fire, caused and contributed to subsequent fires on Maui, and will continue to cause and

 contribute to fires in the future if not enjoined.



                                 CLASS ACTION ALLEGATIONS

 Class Definitions

         152.    Pursuant to HRCP Rule 23, Plaintiffs bring this action on behalf of themselves

 and as representatives of all others who are similarly situated. Plaintiffs seek to certify and



                                                      48
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 52 of 91 PageID.107



 maintain this matter as a class action pursuant to HRCP 23(b)(1), (b)(2), and (b)(3) on behalf of a

 Liability Class, Economic Loss, and Property Damage Subclass (“Economic Loss Subclass”),

 and Personal Injury and Wrongful Death Subclass (“Personal Injury Subclass”).

        153.    Plaintiffs anticipate seeking certification of a Liability Class pursuant to HRCP

 23(b)(1), (b)(2), and (b)(3) on the global issue of the cause and origin of the Lahaina Fire.

 Following certification of a Liability Class, Plaintiffs will seek certification of two Subclasses:

 an Economic Loss Subclass and a Personal Injury Subclass.

        154.    Plaintiffs will seek certification of a Liability Class, defined as follows:

                All persons and entities who suffered (1) real property loss, (2) personal property
                loss, (3) business loss, and/or (4) personal injury as a result of the Lahaina Fire
                that started on August 8, 2023.

        155.    Plaintiffs will seek certification of an Economic Loss and Property Damage

 Subclass, defined as follows:

                All persons who suffered economic loss and property damage, including loss or
                damage to real and personal property and business losses, as a result of the
                Lahaina Fire that started on August 8, 2023.

        156.    Plaintiffs will seek certification of a Personal Injury and Wrongful Death

 Subclass, defined as follows:

                All persons who suffered personal injuries as a result of the Lahaina Fire that
                started on August 8, 2023, and the personal representatives, survivors, and
                beneficiaries of the estates of all persons killed as a result of the Lahaina Fire.

        157.    Excluded from the class are Defendants, any entity in which Defendants have a

 controlling interest or that has a controlling interest in (or is under common control with)

 Defendants, and Defendants’ legal representatives, assignees, and successors. Also excluded are

 the judge to whom this case is assigned and any member of the judge’s immediate family.

        158.    Tragically, the Lahaina Fire is a rare, single-cause catastrophe that requires swift
 and decisive action and resolution. Certification of the Liability Class, Economic Loss Subclass,



                                                  49
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 53 of 91 PageID.108



 and Personal Injury Subclass is the only efficient and productive vehicle for the Court and

 litigants to triage and manage resolution for victims who instantly lost loved ones; who suffered

 debilitating physical injuries; who were displaced from their homes, schools, employment, and

 livelihoods; and who will continue to be displaced from their homes, schools, employment, and

 livelihoods for months and years to come.

        159.    The Liability Class, Economic Loss Subclass, and Personal Injury Subclass

 Plaintiffs will seek to certify are modeled after the classes eventually certified by Honorable

 Michael A. Hanzman, the now retired Florida Circuit Court Judge who presided over In Re:

 Champlain Towers South Collapse Litigation, Florida Circuit Court, Eleventh Judicial Circuit

 Miami-Dade County, Florida Case No. 2021-015089-CA-01. The Champlain Towers South

 collapse was a similarly rare, single-cause catastrophe that instantly killed 98 condominium

 occupants and ultimately levelled a two-tower coastal condominium building. Through Judge

 Hanzman’s strong leadership, immediate consolidation of victims and their claims, and tireless

 dedication to swift resolution for victims who lost loved ones and who were displaced from their

 homes and livelihoods, the vast majority of the nearly $1.2 billion in settlement funds were

 memorialized in settlement agreements and term sheets by the one-year anniversary of the

 collapse.

        160.    Tragedies with the same scale of devastation as the Lahaina Fire and Champlain

 Towers South collapse are rare. Thankfully, however, a case like In Re: Champlain Towers
 South Collapse Litigation gives everyone a model to follow for swift justice and recovery. On

 the other hand, if the Liability Class, Economic Loss Subclass, and Personal Injury Subclass are

 not certified, the resulting individual litigation quagmire will only prolong and amplify the

 devastation for hundreds, if not thousands, of Lahaina Fire victims and result in inconsistent

 outcomes. The Class and Subclass are so numerous that joinder of all members is impracticable,

 satisfying numerosity. The proposed Liability Class consists of thousands of putative members

 who have suffered economic losses, personal injuries, or both. Moreover, thousands of putative
 class members comprise the proposed Economic Loss Subclass and Personal Injury Subclass.


                                                  50
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 54 of 91 PageID.109



        161.      Numerous questions of fact and law common to Plaintiffs and Class and Subclass

 Members exist, satisfying commonality. These common questions include, but are not limited to,

 the following:

                  a.     Whether the Lahaina Fire damaged or destroyed homes, businesses, real

        property, and personal property;

                  b.     Whether the Lahaina Fire resulted in personal injuries and death;

                  c.     Whether the HEI Defendants owed a duty to design, construct, inspect,

        repair, and maintain their power poles, power lines, transformers, reclosers, and other

        electrical equipment adequately;

                  d.     Whether the HEI Defendants owed a duty to maintain, operate, and

        inspect their power poles, power lines, overhead electrical infrastructure, and equipment

        properly to ensure they would not cause a fire;

                  e.     Whether the HEI Defendants owed a duty to deenergize their power lines

        during a Red Flag Warning to prevent fires;

                  f.     Whether the HEI Defendants owed a duty to deenergize their power lines

        during a High Wind Watch to prevent fires;

                  g.     Whether the HEI Defendants owed a duty to deenergize their power lines

        during a high fire danger warning;

                  h.     Whether the HEI Defendants owed a duty to conduct adequate vegetation
        management, such as clearing vegetation, trees, and tree limbs that could come into

        contact with their power lines and equipment;

                  i.     Whether the HEI Defendants owed a duty to deenergize their power lines

        after the HEI Defendants had knowledge that some power lines had fallen or otherwise

        come into contact with vegetation, structures, and objects;

                  j.     Whether the HEI Defendants owed a duty to deenergize their power lines

        after HEI Defendants’ overhead electrical infrastructure had ignited fires;




                                                  51
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 55 of 91 PageID.110



              k.       Whether the HEI Defendants owed a duty to implement reasonable

       policies, procedures, and equipment that would avoid igniting or spreading fire;

              l.       Whether the HEI Defendants owed a duty to adjust their operations

       despite warnings about fire weather conditions that could result in downed power lines

       and cause rapid and dangerous fire growth and spread on and after August 8, 2023; and

       to prevent the downing of power lines, which blocked evacuation routes during the

       Lahaina Fire;

              m.       Whether the power line infrastructure the HEI Defendants owned,

       operated, controlled, and/or managed caused the Lahaina Fire on August 8, 2023;

              n.       Whether the HEI Defendants were negligent in their construction,

       maintenance, inspection, and operation of overhead electrical infrastructure;

              o.       Whether the HEI Defendants were negligent in failing to use reasonable

       care in maintaining power lines, including thinning, and removing fuels in and around

       power lines;

              p.       Whether the HEI Defendants’ decision to not deenergize their power lines

       before or during the Lahaina Fire was negligent;

              q.       Whether the HEI Defendants’ decision to not deenergize their power lines

       before or during the Lahaina Fire was grossly negligent;

              r.       Whether the HEI Defendants’ decision to restore power near Pole
       Numbers 7A and E7B, without first determining the cause of the 3:00 a.m. electrical fault

       in that area, was negligent;

              s.       Whether the HEI Defendants’ decision to restore power near Pole

       Numbers 7A and E7B, without first determining the cause of the 3:00 a.m. electrical fault

       in that area, was grossly negligent.

              t.       Whether the HEI Defendants’ failure to replace their old wooden power

       poles was negligent;




                                               52
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 56 of 91 PageID.111



               u.      Whether the HEI Defendants’ failure to replace their old wooden power

       poles was grossly negligent;

               v.      Whether the HEI Defendants’ action and/or inaction gives rise to gross

       negligence and/or was reckless;

               w.      Whether the HEI Defendants’ decision to not deenergize their power lines

       caused a private nuisance;

               x.      Whether the HEI Defendants are liable under the doctrine of inverse

       condemnation;

               y.      Whether the HEI Defendants considered the elevated risk of fire in West

       Maui on or around August 8, 2023, in deciding to not deenergize their power lines;

               z.      Whether the HEI Defendants have interfered with, or continue to interfere

       with, Plaintiffs’, Class Members’, and Subclass Members’ use and enjoyment of their

       lives and property, and whether that interference was or is objectively substantial and

       unreasonable;

               aa.     Whether the HEI Defendants have taken or have damaged property

       belonging to Plaintiffs, Class Members, and Subclass Members;

               bb.     Whether the HEI Defendants have provided just compensation for having

       taken or having damaged the property belonging to Plaintiffs, Class Members, and

       Subclass Members;
               cc.     Whether the HEI Defendants are strictly liable for an ultrahazardous

       activity;

               dd.     Whether the Telecommunications Defendants owed a duty to design,

       construct, use, inspect, repair, and maintain their communications equipment attached to

       the HEI Defendants’ power poles properly to ensure they would not cause those power

       poles to become overloaded and break, fall, or otherwise fail during a high-wind event;




                                               53
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 57 of 91 PageID.112



                ee.   Whether the Telecommunications Defendants owed a duty to design,

       construct, use, inspect, repair, and maintain their communications equipment attached to

       the HEI Defendants’ power poles properly to ensure they would not cause a fire;

                ff.   Whether the Telecommunications Defendants’ telecommunications

       equipment the Telecommunications Defendants owned, operated, controlled, and/or

       managed caused the Lahaina Fire on August 8, 2023;

                gg.   Whether the Private Landowner Defendants have interfered with, or

       continue to interfere with, Plaintiffs’, Class Members’, and Subclass Members’ use and

       enjoyment of their lives and property, and whether that interference was or is objectively

       substantial and unreasonable;

                hh.   Whether the Private Landowner Defendants owed a duty to perform

       adequate vegetation management on their land in and/or adjacent to Lahaina and its

       evacuation routes, to avoid the dangerous ignition and spread of a wildfire to other

       properties and Lahaina’s evacuation routes;

                ii.   Whether the Private Landowner Defendants owed a duty to construct fire

       breaks on their land to help control and prevent the dangerous spread of a wildfire on

       their land in and/or adjacent to Lahaina and its evacuation routes;

                jj.   Whether the Private Landowner Defendants owed a duty to effectuate fuel

       reduction of the highly flammable, nonnative and invasive grasses growing on the land
       they own, manage, administer, or exercise control over and that is in and/or adjacent to

       Lahaina and its evacuation routes;

                kk.   Whether the Private Landowner Defendants owed a duty to perform fuel

       conversion on the land they own, manage, administer, or exercise control over and that

       was in and/or adjacent to Lahaina and its evacuation routes, by replacing invasive,

       nonnative, highly flammable, and fire-promoting grasses with less flammable ground

       cover;




                                               54
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 58 of 91 PageID.113



              ll.     Whether the State Landowner Defendants owed a duty to perform

       adequate vegetation management on their land in and/or adjacent to Lahaina and its

       evacuation routes, to avoid the dangerous ignition and spread of a wildfire to other

       properties and Lahaina’s evacuation routes;

              mm.     Whether the State Landowner Defendants owed a duty to construct fire

       breaks on their land to help control and prevent the dangerous spread of a wildfire on

       their land in and/or adjacent to Lahaina and its evacuation routes;

              nn.     Whether the State Landowner Defendants owed a duty to effectuate fuel

       reduction of the highly flammable, nonnative and invasive grasses growing on the land

       they own, manage, administer, or exercise control over and that is in and/or adjacent to

       Lahaina and its evacuation routes;

              oo.     Whether the State Landowner Defendants manage, administer, or exercise

       control over land that was in and/or adjacent to Lahaina and its evacuation routes, by

       replacing invasive, nonnative, highly flammable, and fire-promoting grasses with less

       flammable ground cover;

              pp.     Whether property over which the County Defendant had control caused or

       exacerbated the Lahaina Fire on August 8, 2023;

              qq.     Whether the County Defendant owed a duty to have adequate emergency

       response procedures and protocols in place to respond to fires;
              rr.     Whether the County Defendant owed a duty to warn residents of

       impending fire disaster through communications including, but not limited to, sounding

       the All-Hazard emergency Sirens;

              ss.     Whether the County Defendant owed a duty to conduct adequate

       vegetation management, including, but not limited to, clearing vegetation, trees,

       abandoned fields, and other property with excessive, highly-flammable vegetation

       throughout the County to reduce the risk of fire and implementing an aggressive plan to
       eradicate nonnative plants;


                                                55
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 59 of 91 PageID.114



                tt.     Whether the County Defendant owed a duty to conduct reasonable

        inspections of power transmission lines and rights of way;

                uu.     Whether the County Defendant owed a duty to work with the HEI

        Defendants on its infrastructure upgrades and fuel reduction in and around its electrical

        equipment;

                vv.     Whether the County Defendant’s action and/or inaction gives rise to gross

        negligence and/or was reckless; and

                ww.     Whether Plaintiffs, Class Members, and Subclass Members are entitled to

        injunctive relief or other equitable relief, and, if so, the methodology for determining

        such relief.

        162.    The individuals and entities in the Class and Subclasses are the putative Class

 Members. The Plaintiffs are in the putative Class and Subclasses and are putative Class and

 Subclass Representatives.

        163.    Plaintiffs’ claims are typical of the claims of all Class Members. Plaintiffs’ claims

 and the Class claims arise out of Defendants’ same, common course of conduct and are based on

 the same legal, equitable, and remedial theories.

        164.    Plaintiffs will fairly and adequately protect the interests of the class. Plaintiffs’

 claims are typical of the claims of all Class Members. Plaintiffs have retained competent and

 capable attorneys with experience in complex and class action litigation. Plaintiffs and their
 counsel are committed to prosecuting this action vigorously on behalf of the class and have the

 financial resources to do so. Neither Plaintiffs nor their counsel have interests that are contrary to

 or that conflict with those of the proposed class.

        165.    A class action is the superior method for the fair and efficient adjudication of this

 controversy. Common questions of law and fact predominate over any individual questions.

 Class treatment is superior to multiple individual suits or piecemeal litigation because it

 conserves judicial resources, promotes consistency and efficiency of adjudication, provides a
 forum for small claimants, and deters illegal activities. Individual members of the class will have


                                                   56
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 60 of 91 PageID.115



 little to no interest in controlling the litigation due to the high costs of individual actions and the

 expense and difficulty of litigating against sophisticated parties, such as Defendants. There will

 be no significant difficulty in the management of this case as a class action.

         166.     Defendants engaged in a common course of conduct toward Plaintiffs and Class

 and Subclass Members. The common issues of fact and law arising from this conduct that affect

 Plaintiffs and Class and Subclass Members predominate over any individual issues. Adjudication

 of these common issues in a single action has important and desirable advantages of judicial

 economy, efficient use of resources, and consistent outcomes across the Class.

         167.     This Court is experienced in managing class action litigation and is a desirable

 forum because Defendants conduct significant business in this County and in Hawai‘i.

         168.     Plaintiffs and the Class and Subclasses have suffered damages and are continuing

 to suffer damages.



                                       COUNT I—NEGLIGENCE

                  (Against the HEI Defendants, the Telecommunications Defendants,

                                 and the Private Landowner Defendants)

         169.     Plaintiffs restate and incorporate the allegations above as if fully stated herein.

         170.     The HEI Defendants owed the public, Plaintiffs, the Class, and the Subclasses the

 following duties of care:
                  a.     To design, construct, inspect, repair, and maintain their power poles,

         power lines, transformers, reclosers, and other electrical equipment adequately;

                  b.     To maintain, operate, and inspect their power lines, overhead electrical

         infrastructure, and equipment properly to ensure they would not cause a fire;

                  c.     To conduct adequate vegetation management, such as clearing vegetation,

         trees, and tree limbs that could come into contact with their power lines and equipment;

                  d.     To deenergize their power lines during a Red Flag Warning to prevent
         fires;


                                                    57
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 61 of 91 PageID.116



                  e.     To deenergize their power lines during a High Wind Watch to prevent

         fires;

                  f.     To deenergize their power lines during high fire danger warnings;

                  g.     To deenergize their power lines after the HEI Defendants had knowledge

         that some power lines had fallen or otherwise come into contact with vegetation,

         structures, and objects;

                  h.     To deenergize their power lines after the HEI Defendants’ overhead

         electrical infrastructure had ignited fires;

                  i.     To implement reasonable policies, procedures, and equipment that would

         avoid igniting or spreading fire;

                  j.     To adjust their operations given warnings about fire weather conditions

         that could result in downed power lines and cause rapid and dangerous fire growth and

         spread on and after August 8, 2023;

                  k.     To prevent the downing of power lines, which blocked evacuation routes

         during the Lahaina Fire;

                  l.     To replace their old wooden power poles, which have exceeded their

         useful life, are in poor condition and fail to meet the National Electric Safety Code; and

                  m.     To determine the cause of the electrical fault near Pole Numbers 7A and

         E7B before restoring power to the circuit near that location.
         171.     As set forth in the foregoing paragraphs, the HEI Defendants breached each and

 all of these duties.

         172.     The HEI Defendants’ breaches were the proximate cause of injuries that

 Plaintiffs, the Class, and the Subclasses suffered.

         173.     The HEI Defendants’ breaches of its duties actually caused injuries that Plaintiffs,

 the Class, and the Subclasses suffered.

         174.     As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered
 damages in an amount to be proven at trial.


                                                    58
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 62 of 91 PageID.117



        175.    As set forth above, the HEI Defendants’ conduct was intentional, malicious, and

 in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses, subjecting the HEI

 Defendants to awards of punitive damages.

        176.    The Telecommunications Defendants owed the public, Plaintiffs, the Class, and

 the Subclasses the following duties of care:

                a.      To design, construct, use, inspect, repair, and maintain their

        communications equipment adequately;

                b.      To design, construct, use, inspect, repair, and maintain their

        communications equipment to ensure they would not be overloaded, break, fall, or

        otherwise fail during a high-wind event; and

                c.      To design, construct, use, inspect, repair, and maintain their

        communications equipment to ensure that they would not cause a fire.

        177.    As set forth in the foregoing paragraphs, the Telecommunications Defendants

 breached each and all of these duties.

        178.    The Telecommunications Defendants’ breaches were the proximate cause of

 injuries that Plaintiffs, the Class, and the Subclasses suffered.

        179.    The Telecommunications Defendants’ breaches of its duties actually caused

 injuries that Plaintiffs, the Class, and the Subclasses suffered.

        180.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered
 damages in an amount to be proven at trial.

        181.    As set forth above, the Telecommunications Defendants’ conduct was intentional,

 malicious, and in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses,

 subjecting the Telecommunications Defendants to awards of punitive damages.

        182.    The Private Landowner Defendants owed the public, Plaintiffs, the Class, and the

 Subclasses the following duties of care:




                                                   59
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 63 of 91 PageID.118



                a.      To perform adequate vegetation management on their land in and/or

        adjacent to Lahaina and its evacuation routes to avoid the dangerous ignition and spread

        of a wildfire to other properties and Lahaina’s evacuation routes;

                b.      To construct fire breaks on their land to help control and prevent the

        dangerous spread of a wildfire on their land in and/or adjacent to Lahaina and its

        evacuation routes;

                c.      To effectuate fuel reduction of the highly flammable, nonnative and

        invasive grasses growing on the land they own, manage, administer, or exercise control

        over that is in and/or adjacent to Lahaina and its evacuation routes; and

                d.      To perform fuel conversion on the land they own, manage, administer, or

        exercise control over and that is in and/or adjacent to Lahaina and its evacuation routes,

        by replacing invasive, nonnative, highly flammable, and fire-promoting grasses with less

        flammable ground cover.

        183.    As set forth in the foregoing paragraphs, the Private Landowner Defendants

 breached each and all of these duties.

        184.    The Private Landowner Defendants’ breaches were the proximate cause of

 injuries that Plaintiffs, the Class, and the Subclasses suffered.

        185.    The Private Landowner Defendants’ breaches of its duties actually caused injuries

 that Plaintiffs, the Class, and the Subclasses suffered.
        186.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

        187.    As set forth above, the Private Landowner Defendants’ conduct was intentional,

 malicious, and in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses,

 subjecting Defendants to awards of punitive damages.




                                                   60
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 64 of 91 PageID.119



                                   COUNT II—GROSS NEGLIGENCE

                                        (Against All Defendants)

        188.     Plaintiffs restate and incorporate the allegations above as if fully stated herein.

        189.     The HEI Defendants owed the public, Plaintiffs, the Class, and the Subclasses the

 following duties of care:

                 a.     To design, construct, inspect, repair, and maintain their power poles,

        power lines, transformers, reclosers, and other electrical equipment adequately;

                 b.     To maintain, operate, and inspect their power lines, overhead electrical

        infrastructure, and equipment properly to ensure they would not cause a fire;

                 c.     To conduct adequate vegetation management, such as clearing vegetation,

        trees, and tree limbs that could come into contact with their power lines and equipment;

                 d.     To deenergize their power lines during a Red Flag Warning to prevent

        fires;

                 e.     To deenergize their power lines during a High Wind Watch to prevent

        fires;

                 f.     To deenergize their power lines during high fire danger warnings;

                 g.     To deenergize their power lines after the HEI Defendants had knowledge

        that some power lines had fallen or otherwise come into contact with vegetation,

        structures, and objects;
                 h.     To deenergize their power lines after the HEI Defendants’ overhead

        electrical infrastructure had ignited fires;

                 i.     To implement reasonable policies, procedures, and equipment that would

        avoid igniting or spreading fires;

                 j.     To adjust their operations given warnings about fire weather conditions

        that could result in downed power lines and cause rapid and dangerous fire growth and

        spread on and after August 8, 2023;




                                                   61
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 65 of 91 PageID.120



                k.       To prevent the downing of power lines, which blocked evacuation routes

        during the Lahaina Fire;

                l.       To replace their old wooden power poles, which have exceeded their

        useful life, are in poor condition and fail to meet the National Electric Safety Code; and

                m.       To determine the cause of the electrical fault near Pole Numbers 7A and

        E7B before restoring power to the circuit near that location.

        190.    The HEI Defendants knew of the extreme fire danger that high winds posed to

 their overhead electrical infrastructure, particularly during Red Flag conditions. These risks

 included that winds could topple power poles and power lines, causing them to fall to the ground,

 ignite vegetation, and cause a wildfire that would spread rapidly.

        191.    The HEI Defendants’ 2019 Press Release indicates their knowledge of the risks of

 wildfires associated with high winds.

        192.    Despite the HEI Defendants’ knowledge of these extreme risks, they chose not to

 deenergize their power lines during the High Wind Watch and Red Flag Warning conditions for

 Maui before the Lahaina Fire started.

        193.    The HEI Defendants also chose not to deenergize their power lines after they

 knew some poles and lines had fallen and were in contact with the vegetation or the ground.

        194.    The HEI Defendants further failed to deenergize their power lines, even after the

 Lahaina Fire started.
        195.    In the face of knowledge of the risk of high winds and wildfires generally, a High

 Wind Watch, a Red Flag Warning, and specific warnings that high winds could blow down

 power poles and that fires would spread rapidly, the HEI Defendants did nothing.

        196.    The HEI Defendants chose not to take action to prevent the downing of power

 lines, which blocked evacuation routes during the Lahaina Fire.

        197.    The HEI Defendants also failed to replace their old wooden power poles, which

 risked both fire ignition and the blocking of evacuation routes.




                                                 62
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 66 of 91 PageID.121



        198.    The HEI Defendants acted with indifference to the probable consequences of their

 acts and omissions.

        199.    The HEI Defendants’ gross negligence proximately caused the injuries that

 Plaintiffs, the Class, and the Subclasses suffered.

        200.    The HEI Defendants’ gross negligence actually caused injuries that Plaintiffs, the

 Class, and the Subclasses suffered.

        201.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

        202.    As set forth above, the HEI Defendants’ conduct was intentional, malicious, and

 in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses, subjecting the HEI

 Defendants to awards of punitive damages.

        203.    The Telecommunications Defendants owed the public, Plaintiffs, the Class, and

 the Subclasses the following duties of care:

                a.      To design, construct, use, inspect, repair, and maintain their

        communications equipment adequately;

                b.      To design, construct, use, inspect, repair, and maintain their

        communications equipment to ensure they would not be overloaded, break, fall, or

        otherwise fail during a high-wind event; and

                c.      To design, construct, use, inspect, repair, and maintain their
        communications equipment to ensure that they would not cause a fire.

        204.    The Telecommunications Defendants knew, or should have known, that Maui and

 Lahaina faced high wildfire risk based on common knowledge of wildfire risk on Maui; wildfires

 that burned on Maui in 2018 and 2019; the 2019 Collaborative Landscape-Level Approach to

 Reduce Wildfire Hazard Across Hawaii – Maui Report, the 2020 Maui County Hazard

 Mitigation Plan Update, and the 2021Wildfire Prevention Report.

        205.    Despite the Telecommunications Defendants’ knowledge of the wildfire risks,
 they failed to adequately design, construct, inspect, and repair their communications facilities


                                                  63
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 67 of 91 PageID.122



 attached to the HEI Defendants’ wooden power poles to prevent those poles from breaking

 during a high-wind event and causing a fire.

        206.    The Telecommunications Defendants acted with indifference to the probable

 consequences of their acts and omissions.

        207.    The Telecommunications Defendants’ gross negligence proximately caused the

 injuries that Plaintiffs, the Class, and the Subclasses suffered.

        208.    The Telecommunications Defendants’ gross negligence actually caused injuries

 that Plaintiffs, the Class, and the Subclasses suffered.

        209.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

        210.    As set forth above, the Telecommunications Defendants’ conduct was intentional,

 malicious, and in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses,

 subjecting the Telecommunications Defendants to awards of punitive damages.

        211.    The Private Landowner Defendants and State Landowner Defendants owed the

 public, Plaintiffs, the Class, and the Subclasses the following duties of care:

                a.      To perform adequate vegetation management on their land in and/or

        adjacent to Lahaina and its evacuation routes to avoid the dangerous ignition and spread

        of a wildfire to other properties and Lahaina’s evacuation routes;

                b.      To construct fire breaks on their land to help control and prevent the
        dangerous spread of a wildfire on their land in and/or adjacent to Lahaina and its

        evacuation routes;

                c.      To effectuate fuel reduction of the highly flammable, nonnative and

        invasive grasses growing on the land they own, manage, administer, or exercise control

        over and that is in and/or adjacent to Lahaina and its evacuation routes; and

                d.      To perform fuel conversion on the land they own, manage, administer, or

        exercise control over and that is in and/or adjacent to Lahaina and its evacuation routes,




                                                   64
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 68 of 91 PageID.123



         by replacing invasive, nonnative, highly flammable, and fire-promoting grasses with less

         flammable ground cover.

         212.   The Private Landowner Defendants and State Landowner Defendants knew that

 Maui and Lahaina faced high wildfire risk based on common knowledge of wildfire risk on

 Maui, as well as their knowledge of brushfires on similar fallow agricultural land on Maui on

 multiple prior occasions, including as recently as 2018 when fires triggered by Hurricane Lane

 burned 2,100 acres in the same region they own, develop, and manage their land. The State

 Landowner Defendants also knew that Maui and Lahaina faced high wildfire risk based on at

 least the Hawaii Wildfire Management Organization’s 2014 wildfire mitigation plan, the 2020

 Maui County Hazard Mitigation Plan Update, the 2019 Collaborative Landscape-Level

 Approach to Reduce Wildfire Hazard Across Hawaii – Maui Report, and the 2021Wildfire

 Prevention Report.

         213.    Despite the Private Landowner Defendants’ and State Landowner Defendants’

 knowledge of these risks , they failed to adequately perform vegetation management on their

 land in and/or adjacent to Lahaina to prevent the dangerous ignition and spread of the Lahaina

 Fire.

         214.   The Private Landowner Defendants and State Landowner Defendants acted with

 indifference to the probable consequences of their acts and omissions.

         215.   The Private Landowner Defendants’ and State Landowner Defendants’ gross
 negligence proximately caused the injuries that Plaintiffs, the Class, and the Subclasses suffered.

         216.   The Private Landowner Defendants’ and State Landowner Defendants’ gross

 negligence actually caused injuries that Plaintiffs, the Class, and the Subclasses suffered.

         217.   As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

         218.   As set forth above, the Private Landowner Defendants’ and State Landowner

 Defendants’ conduct was intentional, malicious, and in complete disregard to the rights of




                                                  65
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 69 of 91 PageID.124



 Plaintiffs, the Class, and the Subclasses, subjecting the Private Landowner Defendants and State

 Landowner Defendants to awards of punitive damages.

        219.    The County Defendant of Maui owed the public, Plaintiffs, the Class, and the

 Subclasses the following duties of care:

        220.    To implement reasonable policies, procedures, and equipment that would avoid

 igniting or spreading fires;

        221.    To maintain proper and adequate emergency response procedures and protocols in

 place to respond to fires;

        222.    To warn residents of impending wildfires through communications, including, but

 not limited to, sounding the All-Hazard Emergency Sirens;

        223.    To conduct adequate vegetation management, including, but not limited to,

 clearing vegetation, trees, abandoned fields, and other properties with excessive highly-

 combustible material throughout the County to reduce the risk of fires and/or fire intensity and

 implementing an aggressive plan to eradicate nonnative plants;

        224.    To conduct reasonable inspections of power transmission lines and rights of way;

 and

        225.    To work with the HEI Defendants on fire mitigation measures, such as

 infrastructure upgrades and fuel reduction in and around its electrical equipment.

        226.    The County Defendant knew of the multitude of risk factors present in the
 County, which all but ensured that a dangerous wildfire would occur absent its intervention. In

 fact, the County experienced a dangerous, fast-moving wildfire in 2018, issued a report in 2020

 highlighting Lahaina as vulnerable to wildfire, and issued a report in 2021 identifying various

 risks and possible responsive action.

        227.    At the very least, the County Defendant knew that Hurricane Lane had ignited

 fires on Maui in August 2018; that downed power lines may have caused those 2018 fires; that

 fire hydrants ran dry during those 2018 fires; that the County Defendant had not sounded the
 Sirens during the 2018 fires; that wildfires were increasing in frequency and severity; that


                                                 66
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 70 of 91 PageID.125



 wildfires posed a risk to citizens, property, and sacred sites; that island communities like those

 on Maui were particularly vulnerable to wildfires due to dense population and limited evacuation

 routes; that Hawai‘i and, specifically, Maui, faced a more extreme fire risk than the mainland;

 that most of Maui was in moderate or severe drought; that Maui was particularly vulnerable to

 fire; and that nonnative plants fuel fires.

         228.    The County Defendant knew that Maui and, specifically, Lahaina, faced high

 wildfire risk based on, at the very least, the Hawaii Wildfire Management Organization’s 2014

 wildfire mitigation plan, the 2020 Maui County Hazard Mitigation Plan Update, and the

 2021Wildfire Prevention Report.

         229.    Despite the County Defendant’s knowledge of these risks, the County Defendant

 failed to adequately implement the fire prevention and control measures outlined in these various

 emergency plans.

         230.    Further, the County Defendant failed to warn its residents, tourists, and

 shopkeepers of the Lahaina Fire by, among other things, failing to use the All-Hazard

 Emergency Sirens, even though the County Defendant published on its website that the Sirens

 were meant to warn residents about wildfires.

         231.    The County Defendant acted with indifference to the probable consequences of

 their acts and omissions.

         232.    The County Defendant’s gross negligence proximately caused the injuries that
 Plaintiffs, the Class, and the Subclasses suffered.

         233.    The County Defendant’s gross negligence actually caused injuries that Plaintiffs,

 the Class, and the Subclasses suffered.

         234.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

         235.    As set forth above, the County Defendant’s conduct was intentional, malicious,

 and in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses, subjecting the
 County Defendant to awards of punitive damages.


                                                  67
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 71 of 91 PageID.126



                                COUNT III—PRIVATE NUISANCE

                (Against the HEI Defendants, the Telecommunications Defendants,

                               and the Private Landowner Defendants)

        236.    Plaintiffs restate and incorporate the allegations above as if fully stated herein.

        237.    Plaintiffs have a possessory interest in their real property, including the right to

 quiet use and enjoyment of that property.

        238.    The HEI Defendants acted unreasonably, negligently, and recklessly in designing,

 constructing, inspecting, repairing, and maintaining their power poles, power lines, transformers,

 reclosers, and other electrical equipment inadequately.

        239.    The HEI Defendants acted unreasonably, negligently, and recklessly in

 maintaining, operating, and inspecting their power poles, power lines, overhead electrical

 infrastructure, and equipment to ensure they would not cause a fire.

        240.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 deenergize their power lines during a Red Flag Warning.

        241.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 deenergize their power lines during a High Wind Watch.

        242.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 deenergize their power lines once they knew that wind had knocked down power poles, putting

 the power lines in contact with vegetation.
        243.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 deenergize their power lines immediately after the Lahaina Fire started.

        244.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 prevent the downing of power lines, which blocked evacuation routes during the Lahaina Fire.

        245.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 replace their old wooden power poles, which have exceeded their useful life, are in poor

 condition and fail to meet the National Electric Safety Code.




                                                  68
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 72 of 91 PageID.127



         246.    The HEI Defendants acted unreasonably, negligently, and recklessly in failing to

 determine the cause of the electrical fault near Pole Numbers 7A and E7B before restoring power

 to the circuit near that location.

         247.    The HEI Defendants’ unreasonable, negligent, and reckless acts resulted in an

 invasion of Plaintiffs’, the Class’, and the Subclasses’ private use and enjoyment of their land.

         248.    The gravity of harm from the HEI Defendants’ conduct outweighs any utility

 associated with keeping the power lines energized during a High Wind Watch and Red Flag

 Warning, once the HEI Defendants’ power poles failed, and once the Lahaina Fire started.

         249.    The HEI Defendants’ 2019 Press Release reflects their knowledge that high winds

 posed a risk of safety to the public. In addition, HEI Defendants reviewed and studied various

 Wildfire Mitigation Plans that included PSPS during the very kinds of conditions preceding and

 during the Lahaina Fire. HEI Defendants also knew, or should have known, about the High Wind

 Watch and Red Flag Warning.

         250.    The HEI Defendants took an unreasonable risk in failing to deenergize their

 power lines.

         251.    The HEI Defendants also took an unreasonable risk in failing to replace their

 wooden power poles.

         252.    The HEI Defendants’ many failures resulted in serious harm to Plaintiffs, the

 Class, and the Subclasses, depriving them of the quiet use and enjoyment of their property.
         253.    The HEI Defendants’ conduct proximately caused the injuries that Plaintiffs, the

 Class, and the Subclasses suffered.

         254.    The HEI Defendants’ conduct actually caused injuries that Plaintiffs, the Class,

 and the Subclasses suffered.

         255.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.




                                                  69
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 73 of 91 PageID.128



         256.     As set forth above, the HEI Defendants’ conduct was intentional, malicious, and

 in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses, subjecting the HEI

 Defendants to awards of punitive damages.

         257.     The Telecommunications Defendants acted unreasonably, negligently, and

 recklessly in designing, constructing, inspecting, managing, using, and repairing their

 communications facilities attached to the HEI Defendants’ wooden power poles to prevent those

 poles from breaking during a high-wind event and causing a fire.

         258.     The Telecommunications Defendants’ unreasonable, negligent, and reckless acts

 resulted in an invasion of Plaintiffs’, the Class’, and the Subclasses’ private use and enjoyment

 of their land.

         259.     The gravity of harm from the Telecommunications Defendants’ failure to act

 outweighs any possible utility of their conduct, if any such utility exists.

         260.     The Telecommunications Defendants knew, or should have known, that Maui and

 Lahaina faced high wildfire risk based on common knowledge of wildfire risk on Maui; wildfires

 that burned on Maui in 2018 and 2019; the 2019 Collaborative Landscape-Level Approach to

 Reduce Wildfire Hazard Across Hawaii – Maui Report, the 2020 Maui County Hazard

 Mitigation Plan Update, and the 2021Wildfire Prevention Report. The Telecommunications

 Defendants also knew, or should have known, about the High Wind Watch and Red Flag

 Warning.
         261.     The Telecommunications Defendants took an unreasonable risk in failing to

 design, construct, inspect, manage, use, and repair adequately their communications facilities

 attached to the HEI Defendants’ wooden power poles to prevent those poles from breaking

 during a high-wind event and causing a fire.

         262.     The Telecommunications Defendants’ many failures resulted in serious harm to

 Plaintiffs, the Class, and the Subclasses, depriving them of the quiet use and enjoyment of their

 property.




                                                   70
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 74 of 91 PageID.129



           263.   The Telecommunications Defendants’ conduct proximately caused the injuries

 that Plaintiffs, the Class, and the Subclasses suffered.

           264.   The Telecommunications Defendants’ conduct actually caused injuries that

 Plaintiffs, the Class, and the Subclasses suffered.

           265.   As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

           266.   As set forth above, the Telecommunications Defendants’ conduct was intentional,

 malicious, and in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses,

 subjecting the Telecommunications Defendants to awards of punitive damages.

           267.   The Private Landowner Defendants acted unreasonably, negligently, and

 recklessly in failing to perform adequate vegetation management on their land in and/or adjacent

 to Lahaina and its evacuation routes to avoid the dangerous ignition and spread of a wildfire to

 other properties and Lahaina’s evacuation routes.

           268.   The Private Landowner Defendants acted unreasonably, negligently, and

 recklessly in failing to construct fire breaks on their land to help control and prevent the

 dangerous spread of a wildfire on their land in and/or adjacent to Lahaina and its evacuation

 routes.

           269.   The Private Landowner Defendants acted unreasonably, negligently, and

 recklessly in failing to effectuate fuel reduction of the highly flammable, nonnative and invasive
 grasses growing on the land they own, manage, administer, or exercise control over and that is in

 and/or adjacent to Lahaina and its evacuation routes.

           270.   The Private Landowner Defendants acted unreasonably, negligently, and

 recklessly in failing to perform fuel conversion on the land they own, manage, administer, or

 exercise control over and that is in and/or adjacent to Lahaina and its evacuation routes, by

 replacing invasive, nonnative, highly flammable, and fire-promoting grasses with less flammable

 ground cover.




                                                   71
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 75 of 91 PageID.130



         271.     The Private Landowner Defendants’ unreasonable, negligent, and reckless acts

 resulted in an invasion of Plaintiffs’, the Class’, and the Subclasses’ private use and enjoyment

 of their land.

         272.     The gravity of harm from the Private Landowner Defendants’ failure to act

 outweighs any possible utility of their conduct, if any such utility exists.

         273.     The Private Landowner Defendants knew that Maui and, specifically, Lahaina,

 faced high wildfire risk based on common knowledge of wildfire risk on Maui, as well as their

 knowledge of brushfires on similar fallow agricultural land on Maui on multiple prior occasions,

 including as recently as 2018 when Hurricane Lane triggered fires that burned 2,100 acres in the

 same region where they own, develop, and manage their land.

         274.     The Private Landowner Defendants took an unreasonable risk in failing to

 perform adequate vegetation management on their land in and/or adjacent to Lahaina and its

 evacuation routes to avoid the dangerous ignition and spread of a wildfire to other properties and

 Lahaina’s evacuation routes.

         275.     The Private Landowner Defendants took an unreasonable risk in failing to

 construct fire breaks on their land to help control and prevent the dangerous spread of a wildfire

 on their land in and/or adjacent to Lahaina and its evacuation routes.

         276.     The Private Landowner Defendants took an unreasonable risk in failing to

 effectuate fuel reduction of the highly flammable, nonnative and invasive grasses growing on the
 land they own, manage, administer, or exercise control over and in and/or adjacent to Lahaina

 and its evacuation routes.

         277.     The Private Landowner Defendants took an unreasonable risk in failing to

 perform fuel conversion on the land they own, manage, administer, or exercise control over and

 that is in and/or adjacent to Lahaina and its evacuation routes, by replacing invasive, nonnative,

 highly flammable, and fire-promoting grasses with less flammable ground cover.




                                                   72
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 76 of 91 PageID.131



         278.    The Private Landowner Defendants’ many failures resulted in serious harm to

 Plaintiffs, the Class, and the Subclasses, depriving them of the quiet use and enjoyment of their

 property.

         279.    The Private Landowner Defendants’ conduct proximately caused the injuries that

 Plaintiffs, the Class, and the Subclasses suffered.

         280.    The Private Landowner Defendants’ conduct actually caused injuries that

 Plaintiffs, the Class, and the Subclasses suffered.

         281.    As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

         282.    As set forth above, the Private Landowner Defendants’ conduct was intentional,

 malicious, and in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses,

 subjecting the Private Landowner Defendants to awards of punitive damages.



                             COUNT IV—INVERSE CONDEMNATION

                (Against the HEI Defendants and the Telecommunications Defendants)

         283.    Plaintiffs restate and incorporate the allegations above as if fully stated herein.

         284.    Plaintiffs, the Class, and the Subclasses are property owners or persons claiming

 an interest in their property.

         285.    The Hawai‘i Constitution, Article I, Section 20 provides, “Private property shall
 not be taken or damaged for public use without just compensation.”

         286.    Pursuant to HRS § 269-1, the HEI Defendants and the Telecommunications

 Defendants are public utilities.

         287.    The HEI Defendants deliberately designed, installed, own, control, operate,

 manage, use, and/or maintain overhead electrical infrastructure in Hawai‘i for the purpose of

 furnishing light, power, and electricity for public use. In fact, The HEI Defendants provide

 electricity to 95% of Hawai‘i’s residents. Thus, the HEI Defendants operate as a public utility
 within the meaning of HRS § 269-1(1).


                                                   73
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 77 of 91 PageID.132



         288.   The Telecommunications Defendants own, operate, manage, and/or control any

 facilities used to furnish telecommunications services for profit to the public and engage in the

 provision of services such as voice, data, graphics, and video services. The Telecommunications

 Defendants make use of all or part of their transmission facilities, switches, broadcast equipment,

 signaling, and/or control devices. The Telecommunications Defendants offer transmission

 between or among points specified by a user, of information of the user’s choosing, including

 voice, data, image, graphics, and video without change in the form or content of the information,

 as sent and received, by means of electromagnetic transmission, or other similarly capable means

 of transmission, with or without benefit of any closed transmission medium. Thus, the

 Telecommunications Defendants operate as a public utility within the meaning of HRS § 269-

 1(1).

         289.   HRS § 101-4 gives the HEI Defendants and the Telecommunications Defendants

 “[t]he right and power of eminent domain” as operators of public utilities. Thus, the HEI

 Defendants and the Telecommunications Defendants have the power of condemnation.

         290.   The HEI Defendants’ design, construction, use, and/or maintenance of their

 overhead electrical power poles, power lines and the Telecommunications Defendants’ design,

 construction, use, and/or maintenance of their equipment on the power poles created an inherent

 risk that their power poles and power lines would fail, break and/or sever during strong wind

 events, causing energized power lines to fall to the ground and come into contact with
 combustible vegetation below thereby igniting a wildfire. Further, Plaintiffs are informed and

 believe that the HEI Defendants neglected to perform preventative maintenance, including but

 not limited to replacing aging and/or weakened wooden power poles to prevent them from failing

 during a high-wind event and that the Telecommunications Defendants neglected to perform

 preventative maintenance, including but not limited to, ensuring that their equipment was not

 tensioned too tightly and, therefore, did not overburden or overload the wooden power poles.

         291.   Plaintiffs are informed and believe that the HEI Defendants adopted a “wait until
 it breaks” plan of maintaining of their wooden power poles and overhead power lines as a cost-


                                                 74
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 78 of 91 PageID.133



 saving policy instead of performing the necessary preemptive maintenance and repairs to prevent

 its wooden power poles and overhead power lines from failing, breaking, and/or severing during

 high-wind events. Plaintiffs are further informed and believe that the Telecommunications

 Defendants also adopted a “wait until it breaks” plan of maintaining equipment on the HEI

 Defendants’ wooden power poles, also as a cost-saving policy. The Telecommunications

 Defendants failed to act proactively to manage their equipment appropriately to prevent the

 overburdening of wooden power poles and, consequently, to protect them from breaking during

 high-wind events.

        292.     These inherent risks were the substantial cause of the Plaintiffs’, the Class’, and

 the Subclasses’ real and personal property damages, personal injuries, and wrongful deaths.

 These damages were the necessary or probable result of the HEI Defendants’ and the

 Telecommunications Defendants’ overhead electrical infrastructure and telecommunications

 equipment and/or the immediate, direct, and necessary effect of their electrical infrastructure and

 telecommunications equipment. Plaintiffs are informed and believe that wooden power poles

 within the Area of Origin failed, broke, and snapped during high winds on August 8, 2023,

 which caused energized power lines to fall to the ground and ignite combustible vegetation

 below. The resulting Lahaina Fire was the inescapable and/or avoidable consequence of the HEI

 Defendants’ and the Telecommunications Defendants’ public improvement as planned,

 constructed, and maintained by them. The HEI Defendants and the Telecommunications
 Defendants also interfered, and substantially interfered, with the use, access, enjoyment, value,

 and marketability of the Plaintiffs’, the Class’s, and the Subclasses’ property.

        293.     Thus, the HEI Defendants and the Telecommunications Defendants have taken

 private property from Plaintiffs, the Class, and the Subclasses without adequate or just

 compensation.

        294.     The damage to Plaintiffs, the Class, and the Subclasses was the necessary, certain,

 predictable, and/or inevitable result of the HEI Defendants’ and the Telecommunications
 Defendants’ actions.


                                                  75
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 79 of 91 PageID.134



        295.       The damage to Plaintiffs, the Class, and the Subclasses outweighs the risk and

 harm from the improvements the HEI Defendants and the Telecommunications Defendants

 undertook to provide electricity to the public.

        296.       Justice, fairness, and the Hawai‘i Constitution require that the HEI Defendants

 and the Telecommunications Defendants compensate Plaintiffs, the Class, and the Subclasses for

 the taking of their property and their injuries.

        297.       As a result of the foregoing, Plaintiffs, the Class, and the Subclasses suffered

 damages in an amount to be proven at trial.

        298.       As set forth above, the HEI Defendants’ and the Telecommunications

 Defendants’ conduct was intentional, malicious, and in complete disregard to the rights of

 Plaintiffs, the Class, and the Subclasses, subjecting the HEI Defendants and the

 Telecommunications Defendants to awards of punitive damages.



                             COUNT V—ULTRAHAZARDOUS ACTIVITY

                                       (Against the HEI Defendants)

        299.       Plaintiffs restate and incorporate the allegations above as if fully stated herein.

        300.       The HEI Defendants carried on an abnormally dangerous activity by maintaining

 power in their power lines during a High Wind Watch and Red Flag Warning that specifically

 cautioned that high winds could topple power poles and that any fire that started would likely
 spread rapidly.

        301.       Thus, the HEI Defendants owed a heightened duty of care to the public, Plaintiffs,

 the Class, and the Subclasses. This heightened duty required the HEI Defendants to exercise the

 highest possible degree of skill, care, caution, diligence, and foresight in maintaining power in

 their power lines during a High Wind Watch and Red Flag Warning.

        302.       Maintaining power in their power lines during a High Wind Watch and Red Flag

 Warning, during which the NWS warned that power poles were at risk of being blown over by




                                                     76
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 80 of 91 PageID.135



 strong winds and in which any fire that started would spread rapidly, is an abnormally dangerous

 activity, subjecting the HEI Defendants to strict liability.

        303.    The risk of harm to the public, Plaintiffs, the Class, and the Subclasses was high,

 given the high winds and drought conditions.

        304.    The likelihood that maintaining power to the power lines during a High Wind

 Watch and Red Flag Warning would result in power lines blowing over and putting live power

 lines in contact with vegetation was high.

        305.    The HEI Defendants could not eliminate the risk associated with maintaining

 power to their power lines during a High Wind Watch or Red Flag Warning and also engage in

 this abnormally dangerous activity.

        306.    The practice of deenergizing power lines during fire weather conditions is

 commonplace in the Western United States. The HEI Defendants maintained power in their

 overhead electrical infrastructure during a High Wind Watch and Red Flag Warning in a manner

 outside common usage.

        307.    Maintaining power in their overhead electrical infrastructure during a High Wind

 Watch and Red Flag Warning was inappropriate on Maui, given the drought conditions and high

 fire risk weather forecast.

        308.    Nothing about maintaining the power in the HEI Defendants’ power lines

 outweighs the dangerous risk of keeping the electrical infrastructure energized, given the High
 Wind Watch and Red Flag Warning.

        309.    As set forth above, the HEI Defendants’ conduct was intentional, malicious, and

 in complete disregard to the rights of Plaintiffs, the Class, and the Subclasses, subjecting the HEI

 Defendants to awards of punitive damages.



                                 COUNT VI—INJUNCTIVE RELIEF

                                        (Against All Defendants)
        310.    Plaintiffs restate and incorporate the allegations above as if fully stated herein.


                                                   77
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 81 of 91 PageID.136



        311.    Plaintiffs seek an order enjoining the HEI Defendants from leaving their power

 lines energized in high fire risk areas of Maui during Red Flag Warning and/or High Wind

 Warning conditions.

        312.    Plaintiffs seek an order requiring the HEI Defendants to use tools and

 technologies to mitigate the risk of fire, including but not limited to, repairing and replacing

 wooden power poles so that they comply with the National Electric Safety Code requirements to

 withstand wind speeds of 105 miles per hour, burying transmission lines, using covered

 conductors and non-expulsion fuses, and/or disabling automatic reclosers during fire weather

 conditions.

        313.    Plaintiffs seek an order requiring the Telecommunications Defendants to properly

 design, construct, and attach their communications facilities to wooden power poles to prevent

 the poles from breaking during a high-wind event and causing a wildfire.

        314.    Plaintiffs seek an order requiring the Private Landowner Defendants and the State

 Landowner Defendants to properly perform vegetation management on the land they own,

 manage, administer, develop, and/or exercise control over to prevent the dangerous ignition

 and/or spread of a wildfire.

        315.    Plaintiffs seek an order requiring the Private Landowner Defendants and the State

 Landowner Defendants to properly create firebreaks on the land they own, manage, administer,

 develop and/or and exercise control over to prevent the dangerous spread of a wildfire.
        316.    Plaintiffs seek an order requiring the County Defendant to use its Sirens to warn

 the public of a wildfire.

        WHEREFORE, Plaintiffs, the Class, and Subclasses pray for judgment and relief as

 follows:

        1.      Confirmation that this lawsuit is properly maintainable as a class action;

        2.      Certification of the Class and Subclasses;

        3.      Appointment of certain named Plaintiffs as Class Representatives;
        4.      Appointment of Class Counsel;


                                                  78
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 82 of 91 PageID.137



       5.    Damages according to proof;

       6.    Diminution in value according to proof;

       7.    Injunctive relief;

       8.    Punitive damages;

       9.    Prejudgment and post judgment interest;

       10.   Attorney fees and costs; and

       11.   Such other and further relief the Court may deem just and proper.



       DATED: Los Angeles, California, October 13, 2023.


                                   /s/ Graham B. LippSmith
                                   GRAHAM B. LIPPSMITH
                                   MARYBETH LIPPSMITH
                                   JACLYN L. ANDERSON
                                   CELENE CHAN ANDREWS
                                   ROBERT A. CURTIS
                                   KEVIN D. GAMARNIK
                                   LUIS A. SAENZ
                                   ALEXANDER ROBERTSON, IV

                                   Attorneys for Plaintiffs, Individually, and in Their
                                   Representative Capacities and on Behalf of a Class and the
                                   Subclasses of All Persons Similarly Situated




                                             79
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 83 of 91 PageID.138




                    EXHIBIT A
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 84 of 91 PageID.139




                                                                       FOR IMMEDIATE RELEASE


   Hawaiian Electric Companies to conduct drone surveys as
          part of overall wildfire mitigation planning
   Flights scheduled in East Oʻahu, West Maui to pinpoint vulnerable areas
 HONOLULU, Nov. 5, 2019 – The Hawaiian Electric Companies will conduct drone surveys
 across their five-island territory to identify areas vulnerable to wildfire and determine the best
 course of action to protect the public, as well as electrical infrastructure.

 Drone, or unmanned aircraft system, surveys will be conducted in November and December in
 East Oʻahu, West Maui and Maʻalaea. Future surveys are being planned for Kaʻū on Hawaiʻi
 Island.

 These aerial inspections are part of the companies’ proactive assessment and management of
 vegetation near their electrical infrastructure, especially in drought-prone or dry brush areas.

 Hawaiian Electric, Maui Electric and Hawaiʻi Electric Light earlier this year evaluated the wildfire
 mitigation plans filed by the major utilities in California and studied Hawaiʻi fire ignition maps to
 determine where the greatest risks are and to provide a basis for planning.

 Unlike California, many utility lines in Hawaiʻi run through tropical forests and areas that typically
 receive abundant rainfall. That makes it easier to concentrate on mapping drought-prone areas
 where sparks could ignite dry grass and brush beneath power lines.

 Other resilience initiatives launched by the companies to prevent wildfires include:

     •   Installing heavier, insulated conductors on Maui and Oʻahu to stop lines from slapping
         and sparking in areas prone to high winds. The companies are identifying more areas
         where it makes sense to install these conductors.
     •   Installing smart switches and smart fuses to minimize sparks created when lines come
         into contact with each other, and with vegetation.
     •   Applying fire retardants on poles identified in fire hazard areas. Last month, Hawaiian
         Electric tested several different fire retardants on wooden poles in a controlled burn to
         determine which products will best protect the companies’ infrastructure.
     •   Looking into using weather sensors, cameras and thermal imagers to give more precise
         locations on localized wind gusts, relative humidity and temperatures.

                                                 ###

 FOLLOW US FOR THE LATEST:
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 85 of 91 PageID.140




                     IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                                      STATE OF HAWAI‘I
MONICA I. EDER; REDE S. EDER; BRUCE                   CIVIL NO. 1CCV-XX-XXXXXXX JPC
BAUM; SHERYL LYNN MARTIN; PATRICE                     (Property Damage/Personal Injury)
CARLTON; MONA CHERRY; CLUB
SPORTWEAR, INC. dba KAIALOHA SUPPLY;                  DEMAND FOR JURY TRIAL
TERESA COLEMAN; LINDA BETHELL
DONOVAN TRUST; LINDA BETHELL
DONOVAN; CANDICE FAUST; PETER FAUST;
KAILI FAUST; DAVID HEYMES; TOMMY
KNAPP; KRONSER TRUST; PAUL KRONSER;
KRISTI LYNN KRONSER; JENNIFER LYNN
MCNAMEE; RANDALL EUGENE MCNAMEE;
CHARLENE MEDEIROS; CHARLOTTE
MEDEIROS; ERIC MCCUMBER; JONATHAN
MELIKIDSE; CHRISTY MELIKIDSE; ROSE
O’LEARY; STEVEN DAVID POTTER;
TIMOTHY PUTNAM; LORRI ROBUSTO;
WILLIAM ROBUSTO; KATHRYN SAY; AYDIN
SAY; STARDUST HAWAI‘I dba SEGWAY
MAUI; MARTY STEVENSON; CONSTANCE
STEVENSON; KAORU TANABE; ROLLAND
WILLIAMS, JR.; and JENNIFER WISEMAN,
Individually and in Their Representative Capacities
and on Behalf of a Class and Subclasses of All
Persons Similarly Situated,

                Plaintiffs,

        vs.

MAUI ELECTRIC COMPANY, LIMITED;
HAWAIIAN ELECTRIC COMPANY, INC.;
HAWAII ELECTRIC LIGHT COMPANY, INC.;
HAWAIIAN ELECTRIC INDUSTRIES, INC.;
COUNTY OF MAUI; HAWAIIAN TELCOM;
HAWAIIAN TELECOMMUNICATIONS, INC.;
HAWAIIAN TELCOM, INC.; SPECTRUM
OCEANIC, LLC; CHARTER
COMMUNICATIONS HOLDING COMPANY,
LLC; CHARTER COMMUNICATIONS
HOLDING, LLC; CHARTER
COMMUNICATIONS, LLC; CHARTER
COMMUNICATIONS OPERATING, LLC;
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 86 of 91 PageID.141



TRUSTEES OF THE ESTATE OF BERNICE
PAUAHI BISHOP; PETER KLINT MARTIN;
PETER KLINT MARTIN REVOCABLE TRUST;
HOPE BUILDERS HOLDING LLC; HOPE
BUILDERS INC.; HOPE BUILDERS LLC;
KAUAULA LAND COMPANY LLC; KIPA
CENTENNIAL, LLC; DOUGLAS POSELEY;
DONNA ANNE POSELEY; JAMES C. RILEY
TRUST; JEANNE A. RILEY TRUST; WAINEE
LAND & HOMES, LLC; WEST MAUI LAND
COMPANY, INC.; MAKILA RANCHES INC.;
MAKILA LAND CO., LLC; MAKILA RANCHES
HOMEOWNERS ASSOCIATION, INC.; JV
ENTERPRISES, LLC; STATE OF HAWAI‘I;
HAWAII HOUSING FINANCE AND
DEVELOPMENT CORPORATION; HAWAI‘I
DEPARTMENT OF LAND AND NATURAL
RESOURCES; DOE POWER UTILITIES, 1–10;
DOE TELECOMMUNICATIONS, 1–10; DOE
PRIVATE LANDOWNERS, 1–10; and DOE
STATE LANDOWNERS, 1–10,

                 Defendants.



                                    DEMAND FOR JURY TRIAL

           Plaintiffs, individually and in their representative capacities and on behalf of a Class and

 Subclasses of all persons similarly situated, hereby demand trial by jury on all issues so triable

 herein.

           DATED: Los Angeles, California, October 13, 2023.

                                          /s/ Graham B. LippSmith
                                          GRAHAM B. LIPPSMITH
                                          MARYBETH LIPPSMITH
                                          JACLYN L. ANDERSON
                                          CELENE CHAN ANDREWS
                                          ROBERT A. CURTIS
                                          KEVIN D. GAMARNIK
                                          LUIS A. SAENZ
                                          ALEXANDER ROBERTSON, IV


                                                     2
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 87 of 91 PageID.142



                              Attorneys for Plaintiffs, Individually, and in Their
                              Representative Capacities and on Behalf of a Class and the
                              Subclasses of All Persons Similarly Situated




                                        3
         Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 88 of 91 PageID.143
        STATE OF HAWAI‘I                    SUMMONS                  CASE NUMBER
     CIRCUIT COURT OF THE               TO ANSWER SECOND              1CCV-XX-XXXXXXX JPC
          FIRST CIRCUIT              AMENDED CIVIL COMPLAINT
  PLAINTIFF                                                           VS.       DEFENDANT(S) MAUI ELECTRIC COMPANY, LIMITED; HAWAIIAN ELECTRIC
MONICA I. EDER; REDE S. EDER; BRUCE BAUM; SHERYL LYNN                          COMPANY, INC.; HAWAII ELECTRIC LIGHT COMPANY, INC.; HAWAIIAN
MARTIN; PATRICE CARLTON; MONA CHERRY; CLUB SPORTWEAR,                          ELECTRIC INDUSTRIES, INC.; COUNTY OF MAUI; HAWAIIAN TELCOM;
INC. dba KAIALOHA SUPPLY; TERESA COLEMAN; LINDA BETHELL                        HAWAIIAN TELECOMMUNICATIONS, INC.; HAWAIIAN TELCOM, INC.; SPECTRUM
                                                                               OCEANIC, LLC; CHARTER COMMUNICATIONS HOLDING COMPANY, LLC;
DONOVAN TRUST; LINDA BETHELL DONOVAN; CANDICE FAUST;                           CHARTER COMMUNICATIONS HOLDING, LLC; CHARTER COMMUNICATIONS,
PETER FAUST; KAILI FAUST; DAVID HEYMES; TOMMY KNAPP;                           LLC; CHARTER COMMUNICATIONS OPERATING, LLC; TRUSTEES OF THE
KRONSER TRUST; PAUL KRONSER; KRISTI LYNN KRONSER;                              ESTATE OF BERNICE PAUAHI BISHOP; PETER KLINT MARTIN; PETER KLINT
JENNIFER LYNN MCNAMEE; RANDALL EUGENE MCNAMEE;                                 MARTIN REVOCABLE TRUST; HOPE BUILDERS HOLDING LLC; HOPE BUILDERS
CHARLENE MEDEIROS; CHARLOTTE MEDEIROS; ERIC MCCUMBER;                          INC.; HOPE BUILDERS LLC; KAUAULA LAND COMPANY LLC; KIPA CENTENNIAL,
JONATHAN MELIKIDSE; CHRISTY MELIKIDSE; ROSE O’LEARY;                           LLC; DOUGLAS POSELEY; DONNA ANNE POSELEY; JAMES C. RILEY TRUST;
STEVEN DAVID POTTER; TIMOTHY PUTNAM; LORRI ROBUSTO;                            JEANNE A. RILEY TRUST; WAINEE LAND & HOMES, LLC; WEST MAUI LAND
WILLIAM ROBUSTO; KATHRYN SAY; AYDIN SAY; STARDUST HAWAI‘I                      COMPANY, INC.; MAKILA RANCHES INC.; MAKILA LAND CO., LLC; MAKILA
dba SEGWAY MAUI; MARTY STEVENSON; CONSTANCE STEVENSON;                         RANCHES HOMEOWNERS ASSOCIATION, INC.; JV ENTERPRISES, LLC; STATE
KAORU TANABE; ROLLAND WILLIAMS, JR.; and JENNIFER WISEMAN,                     OF HAWAI‘I; HAWAII HOUSING FINANCE AND DEVELOPMENT CORPORATION;
                                                                               HAWAI‘I DEPARTMENT OF LAND AND NATURAL RESOURCES; DOE POWER
Individually and in Their Representative Capacities and on Behalf of a Class   UTILITIES, 1–10; DOE TELECOMMUNICATIONS, 1–10; DOE PRIVATE
and Subclasses of All Persons Similarly Situated                               LANDOWNERS, 1–10; and DOE STATE LANDOWNERS, 1–10

  PLAINTIFF’S NAME & ADDRESS, TEL. NO.
  GRAHAM B. LIPPSMITH 9593, g@lippsmith.com
  MARYBETH LIPPSMITH 11578, mb@lippsmith.com
  JACLYN L. ANDERSON 11075, jla@lippsmith.com
  CELENE CHAN ANDREWS 9902, cca@lippsmith.com
  LIPPSMITH LLP
  55 Merchant Street, Suite 1850
  Honolulu, Hawai‘i 96813
  Tel: (213) 344-1820

     TO THE ABOVE-NAMED DEFENDANT(S)
               You are hereby summoned and required to file with the court and serve upon
                                     LIPPSMITH LLP
                                     55 Merchant Street, Suite 1850
                                     Honolulu, Hawai‘i 96813
      _______________________________________________________________________________________________ ,
      plaintiff’s attorney, whose address is stated above, an answer to the complaint which is herewith served upon you, within
      20 days after service of this summons upon you, exclusive of the date of service. If you fail to do so, judgment by default
      will be taken against you for the relief demanded in the complaint.

            THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
            PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
            COURT PERMITS, IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING THOSE HOURS.

            A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRY OF DEFAULT AND DEFAULT
            JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.



     The original document is filed in the                                  Effective Date of 28-Oct-2019
     Judiciary’s electronic case management
                                                                            Signed by: /s/ Patsy Nakamoto
     system which is accessible via eCourt Kokua
     at: http:/www.courts.state.hi.us                                       Clerk, 1st Circuit, State of Hawai‘i


                  In accordance with the Americans with Disabilities Act, and other applicable state and federal laws, if you require a
                  reasonable accommodation for a disability, please contact the ADA Coordinator at the Circuit Court Administration Office on
                  OAHU- Phone No. 808-539-4400, TTY 808-539-4853, FAX 539-4402, at least ten (10) working days prior to your hearing or
                  appointment date.




Form 1C-P-787 (1CCT) (10/19)
Summons to Complaint     RG-AC-508 (10/19)
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 89 of 91 PageID.144



                     IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                                      STATE OF HAWAI‘I
MONICA I. EDER; REDE S. EDER; BRUCE                   CIVIL NO. 1CCV-XX-XXXXXXX JPC
BAUM; SHERYL LYNN MARTIN; PATRICE                     (Property Damage/Personal Injury)
CARLTON; MONA CHERRY; CLUB
SPORTWEAR, INC. dba KAIALOHA SUPPLY;                  CERTIFICATE OF SERVICE
TERESA COLEMAN; LINDA BETHELL
DONOVAN TRUST; LINDA BETHELL
DONOVAN; CANDICE FAUST; PETER FAUST;
KAILI FAUST; DAVID HEYMES; TOMMY
KNAPP; KRONSER TRUST; PAUL KRONSER;
KRISTI LYNN KRONSER; JENNIFER LYNN
MCNAMEE; RANDALL EUGENE MCNAMEE;
CHARLENE MEDEIROS; CHARLOTTE
MEDEIROS; ERIC MCCUMBER; JONATHAN
MELIKIDSE; CHRISTY MELIKIDSE; ROSE
O’LEARY; STEVEN DAVID POTTER;
TIMOTHY PUTNAM; LORRI ROBUSTO;
WILLIAM ROBUSTO; KATHRYN SAY; AYDIN
SAY; STARDUST HAWAI‘I dba SEGWAY
MAUI; MARTY STEVENSON; CONSTANCE
STEVENSON; KAORU TANABE; ROLLAND
WILLIAMS, JR.; and JENNIFER WISEMAN,
Individually and in Their Representative Capacities
and on Behalf of a Class and Subclasses of All
Persons Similarly Situated,

                Plaintiffs,

        vs.

MAUI ELECTRIC COMPANY, LIMITED;
HAWAIIAN ELECTRIC COMPANY, INC.;
HAWAII ELECTRIC LIGHT COMPANY, INC.;
HAWAIIAN ELECTRIC INDUSTRIES, INC.;
COUNTY OF MAUI; HAWAIIAN TELCOM;
HAWAIIAN TELECOMMUNICATIONS, INC.;
HAWAIIAN TELCOM, INC.; SPECTRUM
OCEANIC, LLC; CHARTER
COMMUNICATIONS HOLDING COMPANY,
LLC; CHARTER COMMUNICATIONS
HOLDING, LLC; CHARTER
COMMUNICATIONS, LLC; CHARTER
COMMUNICATIONS OPERATING, LLC;
TRUSTEES OF THE ESTATE OF BERNICE
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 90 of 91 PageID.145



PAUAHI BISHOP; PETER KLINT MARTIN;
PETER KLINT MARTIN REVOCABLE TRUST;
HOPE BUILDERS HOLDING LLC; HOPE
BUILDERS INC.; HOPE BUILDERS LLC;
KAUAULA LAND COMPANY LLC; KIPA
CENTENNIAL, LLC; DOUGLAS POSELEY;
DONNA ANNE POSELEY; JAMES C. RILEY
TRUST; JEANNE A. RILEY TRUST; WAINEE
LAND & HOMES, LLC; WEST MAUI LAND
COMPANY, INC.; MAKILA RANCHES INC.;
MAKILA LAND CO., LLC; MAKILA RANCHES
HOMEOWNERS ASSOCIATION, INC.; JV
ENTERPRISES, LLC; STATE OF HAWAI‘I;
HAWAII HOUSING FINANCE AND
DEVELOPMENT CORPORATION; HAWAI‘I
DEPARTMENT OF LAND AND NATURAL
RESOURCES; DOE POWER UTILITIES, 1–10;
DOE TELECOMMUNICATIONS, 1–10; DOE
PRIVATE LANDOWNERS, 1–10; and DOE
STATE LANDOWNERS, 1–10,

               Defendants.



                                 CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and correct copy of the foregoing document
 was duly served on this date electronically through JEFS on the following parties as listed below:

        JOACHIM P. COX
        jcox@cfhawaii.com
        RANDALL C. WHATTOFF
        rwhattoff@cfhawaii.com
        COX FRICKE LLP
        A LIMITED LIABILITY LAW PARTNERSHIP LLP
        800 Bethel Street, Suite 600
        Honolulu, Hawai‘i 96813

        Attorneys for Defendants
        MAUI ELECTRIC COMPANY, LIMITED,
        HAWAIIAN ELECTRIC COMPANY, INC.,
        HAWAII ELECTRIC LIGHT COMPANY, INC., and
        HAWAIIAN ELECTRIC INDUSTRIES, INC.



                                                 2
Case 1:23-cv-00575-JAO-BMK Document 1-2 Filed 12/05/23 Page 91 of 91 PageID.146



       DAVID J. MINKIN
       djminkin@m4law.com
       JORDAN K. INAFUKU
       jinafuku@m4law.com
       SARA M. HAYDEN
       smh@m4law.com
       KAMRIE J. KOI
       kjk@m4law.com
       MCCORRISTON MILLER MUKAI MACKINNON LLP
       Five Waterfront Plaza, 4th Floor
       500 Ala Moana Boulevard
       Honolulu, Hawai‘i 96813

       Attorneys for Defendant
       COUNTY OF MAUI

       DATED: Los Angeles, California, October 13, 2023.

                                  /s/ Graham B. LippSmith
                                  GRAHAM B. LIPPSMITH
                                  MARYBETH LIPPSMITH
                                  JACLYN L. ANDERSON
                                  CELENE CHAN ANDREWS
                                  ROBERT A. CURTIS
                                  KEVIN D. GAMARNIK
                                  LUIS A. SAENZ
                                  ALEXANDER ROBERTSON, IV

                                  Attorneys for Plaintiffs, Individually, and in Their
                                  Representative Capacities and on Behalf of a Class and the
                                  Subclasses of All Persons Similarly Situated




                                            3
